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                    EXHIBIT 1
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        19-1715-cv
        New Hope Family Services, Inc. v. Poole




                                                       In the
                        United States Court of Appeals
                                          for the Second Circuit


                                                  AUGUST TERM 2019


                                                   No. 19-1715-cv


                                     NEW HOPE FAMILY SERVICES, INC.,
                                          Plaintiff-Appellant,

                                                          v.


         SHEILA J. POOLE, in her official capacity as Acting Commissioner for
        the Office of Children and Family Services for the State of New York,
                                                  Defendant-Appellee.


                        On Appeal from the United States District Court
                                 for the Northern District of New York



                                         ARGUED: NOVEMBER 13, 2019
                                              DECIDED: JULY 21, 2020
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        Before: CABRANES, RAGGI, Circuit Judges, KORMAN, District Judge. *
                                     _____ ______

               Plaintiff, New Hope Family Services, Inc., is a voluntary,
        privately funded Christian ministry devoted to providing adoption
        services and authorized to do so in the State of New York for more
        than 50 years. New Hope professes that, consistent with its religious
        beliefs, it cannot recommend adoptions by unmarried or same-sex
        couples. It does not itself disapprove such couples; rather, it refers
        them to other adoption agencies.         In 2018, the State’s Office of
        Children and Family Services (“OCFS”) informed New Hope that its
        policy respecting unmarried and same-sex couples violates the anti-
        discrimination mandate of N.Y. Comp. Codes R. & Regs. tit. 18,
        § 421.3(d). OCFS advised New Hope that it either had to change its
        policy or close its operation. Rather than do either, New Hope sued
        OCFS in the United States District Court for the Northern District of
        New York (D’Agostino, J.) for violations of its First and Fourteenth
        Amendment rights. It now appeals from a judgment dismissing its
        complaint for failure to state a claim and denying its motion for a
        preliminary injunction as moot. New Hope argues that the district
        court erred in concluding that it failed to state plausible claims for
        violations of its rights of Free Exercise of Religion and Free Speech
        and, therefore, in rejecting its preliminary injunction motion as moot.



        *Judge Edward R. Korman, of the United States District Court for the Eastern
        District of New York, sitting by designation.




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        New Hope urges this court both to reinstate these claims and to grant
        it preliminary injunctive relief.

               We agree that New Hope’s Free Exercise and Free Speech
        claims should not have been dismissed at the pleadings stage and,
        therefore, that its preliminary injunction motion is not moot. We
        remand the case to the district court for further proceedings consistent
        with this opinion, including whether to grant New Hope a
        preliminary injunction preventing OCFS from mandating the closure
        of New Hope’s adoption operation while the merits of this case are
        litigated.   Pending the district court’s ruling on that preliminary
        injunction motion, the narrow injunction granted by this court shall
        remain in effect.

               REVERSED IN PART, VACATED IN PART, AND REMANDED.




                                  ROGER G. BROOKS (Jeana J. Hallock, Alliance
                                  Defending Freedom, Scottsdale, Arizona,
                                  John J. Bursch, Alliance Defending
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                                  Christopher P. Schandevel, Alliance
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                                  Plaintiff-Appellant.

                                  LAURA ETLINGER, Assistant Solicitor General
                                  (Barbara D. Underwood, Solicitor General,




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                                  Andrea Oser, Deputy Solicitor General, on
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                                  of the State of New York, Albany, New
                                  York, for Defendant-Appellee.

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                                  Amicus Curiae The Becket Fund for Religious
                                  Liberty, Washington, District of Columbia.

                                  Gregory Dolin, University of Baltimore
                                  School of Law, Baltimore, Maryland, for
                                  Amici Curiae The Jewish Coalition for
                                  Religious Liberty, Agudath Israel of
                                  America, The Rabbinical Alliance of
                                  America, and The Coalition for Jewish
                                  Values.

                                  Geoffrey T. Blackwell, American Atheists,
                                  Inc., Washington, District of Columbia,
                                  Monica L. Miller, American Humanist
                                  Association, Washington, District of
                                  Columbia, Nicholas J. Little, Center for
                                  Inquiry, Washington, District of Columbia,
                                  Rebecca Markert, Freedom From Religion
                                  Foundation, Madison, Wisconsin, for Amici
                                  Curiae American Atheists, Inc., American
                                  Humanist Association, Center for Inquiry,
                                  and Freedom From Religion Foundation.

                                  Cathren Cohen, Lambda Legal Defense and
                                  Education Fund, Inc., Los Angeles,
                                  California, Currey Cook, Karen L. Loewy,
                                  Lambda Legal Defense and Education




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                                      Fund, Inc., New York, New York, Richard B.
                                      Katskee, Kenneth D. Upton, Jr., Carmen N.
                                      Green, Patrick Grubel, Americans United
                                      for Separation of Church and State,
                                      Washington, District of Columbia, for Amici
                                      Curiae Civil Rights Organizations.



        REENA RAGGI, Circuit Judge:

               An important question of law animates this case: What is the
        proper relationship between the First Amendment—specifically, its
        guarantees of free exercise of religion and free speech—and laws
        protecting against various forms of discrimination? The question has
        arisen most recently when religious organizations, like Plaintiff here,
        seek some exemption from laws prohibiting discrimination on the
        basis of sexual orientation, arguing that such laws compel them to
        speak and behave contrary to the dictates of their consciences. The
        answer to this question—whether, in particular circumstances, anti-
        discrimination      laws     violate    First    Amendment         rights—may
        profoundly affect our system of ordered liberty. 1




        1 See Thomas I. Emerson, Toward a General Theory of the First Amendment, 72 YALE
        L.J. 877, 880 (1963) (observing that “freedom of expression” is “an essential
        element in a good society” that cannot be regulated or restricted even to achieve
        “other or more inclusive ends—such as virtue, justice, equality . . . ”; these must
        be pursued by “counter-expression and the regulation or control of conduct which
        is not expression”).




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               But at this early stage in the case, we need not answer that
        ultimate question. Instead, we need decide only whether Plaintiff has
        stated a plausible claim for the violation of its First Amendment
        rights, affirming the district court if we conclude that Plaintiff has not
        stated a plausible claim, or reversing if we conclude that Plaintiff has.

               Plaintiff, New Hope Family Services, Inc. (“New Hope”), is a
        voluntary, privately funded Christian ministry located in Syracuse,
        New York. Its avowed mission is to assist women with unplanned
        pregnancies and to provide temporary foster care and adoptive
        homes for children whose birth parents cannot care for them. In its
        more than 50 years of operation, New Hope has placed approximately
        1,000 children with adoptive parents. There appears to be no question
        that each of these placements has been in the best interests of the
        adopted child.    While New Hope operates under a certificate of
        incorporation authorizing it to provide adoption services in New
        York State, it has no contract with any government entity, and it does
        not receive any public funding.

               At issue on this appeal is whether New Hope will be permitted
        to continue its adoption ministry in New York State. That comes into
        question because New Hope’s ministry is informed by its religious
        belief in the biblical model of marriage as one man married for life to
        one woman. New Hope asserts that, consistent with this belief, it
        cannot recommend adoption by unmarried or same-sex couples
        because it does not think such placements are in the best interests of
        a child. Accordingly, it does not itself work with such couples but,
        rather, refers them to other adoption agencies. In 2018, officials of the




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        New York State Office of Children and Family Services (“OCFS”)
        informed New Hope that such a policy violates a 2013 state regulation
        prohibiting discrimination against applicants for adoption services on
        the basis of “race, creed, color, national origin, age, sex, sexual
        orientation, gender identity or expression, marital status, religion, or
        disability . . . .” N.Y. Comp. Codes R. & Regs. tit. 18 (“18 NYCRR”),
        § 421.3(d) (emphases added). OCFS officials told New Hope that it
        either had to change its policy to conform to the regulation or close its
        adoption operation.

               Unwilling to do either, New Hope initiated this action in the
        United States District Court for the Northern District of New York
        (Mae A. D’Agostino, Judge). Pursuant to 42 U.S.C. § 1983, New Hope
        charged OCFS’s Acting Commissioner Sheila J. Poole with violating
        its rights under the Constitution’s Free Exercise of Religion, Free
        Speech, and Equal Protection Clauses, see U.S. CONST. amends. I, XIV,
        and requested declaratory and injunctive relief. 2 On cross-motions by
        New Hope for a preliminary injunction and by OCFS for dismissal,
        the district court granted dismissal pursuant to Fed. R. Civ. P.
        12(b)(6), concluding that New Hope failed to plead any plausible
        constitutional claims. Consequently, the court denied New Hope’s
        preliminary injunction motion as moot. See New Hope Family Servs.
        Inc. v. Poole, 387 F. Supp. 3d 194 (N.D.N.Y. 2019). New Hope appeals
        from so much of the district court judgment, entered on May 16, 2019,



        2Because Acting Commissioner Poole is sued only in her official capacity, in this
        opinion we refer to defendant as the State agency Poole heads, i.e., “OCFS.”




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        as dismissed its Free Exercise and Free Speech claims and rejected its
        preliminary injunction motion.

               For the reasons stated in this opinion, we reverse the challenged
        dismissal judgment, vacate the denial of New Hope’s motion for a
        preliminary injunction, and remand the case to the district court for
        further proceedings consistent with               this opinion,       including
        consideration of whether to grant a preliminary injunction.

               Background

               In recounting the background to this case, we follow the
        standard applicable to the review of motions to dismiss, i.e., we accept
        all factual allegations pleaded by New Hope in its complaint as true,
        and we draw all reasonable inferences in its favor. See, e.g., DiFolco v.
        MSNBC Cable L.L.C., 622 F.3d 104, 110–11 (2d Cir. 2010).

               A.     New York Adoption Law

               Private charities—many of them religiously affiliated—have
        long played an important role in caring for orphans and abandoned
        children in New York. 3 Adoption in New York, however, is now


        3 For example, in 1806, a group of New York City women—including Mrs.
        Alexander Hamilton—founded the Orphan Asylum Society, the city’s first private
        charity devoted to caring for orphaned children who would otherwise have been
        consigned to public almshouses. See 1 CHILDREN AND YOUTH IN AMERICA: A
        DOCUMENTARY HISTORY 280 (Robert H. Bremner et al., eds., 1970); Mary Kelley,
        Book Review, 90 J. OF AM. HIST. 1023, 1023 (2003) (reviewing ANNE M. BOYLAN,
        THE ORIGINS OF WOMEN’S ACTIVISM: NEW YORK AND BOSTON, 1797–1840 (2002)).
        In 1817, Catholic nuns affiliated with the Sisters of Charity began caring for New




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         “solely the creature of . . . statute,” Matter of Jacob, 86 N.Y.2d 651, 657
         (1995) (internal quotation marks omitted), and requires “a judicial
         proceeding” for a person (or couple) to “take[] another person into
         the relation of child and thereby acquire[] the rights and incur[] the
         responsibilities of parent in respect of such other person,” N.Y. Dom.
         Rel. Law § 110.

                Since first enacted in 1873, New York’s adoption law has had
         as its primary purpose ensuring the “best interest[s]” of the child to
         be adopted. Matter of Jacob, 86 N.Y.2d at 658–59. But if that objective
         has remained constant, not so the factors informing it. Over a century
         and a half, New York’s adoption law has been amended
         “innumerable times,” such that its many requirements and
         prohibitions—both        those    established      by    statute    and    those

         York City orphans at the St. Patrick’s Asylum. See ROBERT ERNST, IMMIGRANT LIFE
         IN NEW YORK CITY, 1825–1863, 35 (1949). The Hebrew Orphan Asylum was
         established in Manhattan in 1822. See REPORT OF THE PRESIDENT, THE HEBREW
         BENEVOLENT AND ORPHAN ASYLUM SOCIETY OF THE CITY OF NEW YORK,
         PROCEEDINGS OF THE SEVENTY-FOURTH ANNUAL MEETING 15–16 (1897). The
         Catholic Orphan Society of Brooklyn was founded in 1826. See MARY J. OATES,
         THE CATHOLIC PHILANTHROPIC TRADITION IN AMERICA 6 (1995). New York’s
         Episcopal Church created an Orphan Home and Asylum in New York City in 1851.
         See COMMITTEE ON THE HISTORY OF CHILD-SAVING WORK, NATIONAL CONFERENCE
         ON SOCIAL WELFARE, HISTORY OF CHILD-SAVING IN THE UNITED STATES 158 (1893).
         New York’s two best known institutions devoted to caring for orphaned,
         abandoned, and otherwise needy children, the Children’s Aid Society and the
         New York Foundling Hospital, were created, respectively, in 1853 by private
         philanthropists and in 1869 by the Sisters of Charity. See Joseph M. Hawes,
         Creating New Families: The History of Adoption in the United States, 32 REVIEWS IN
         AM. HIST. 90, 91 (2004) (book review); MARTIN GOTTLIEB, THE FOUNDLING 11–12
         (2001).




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         propounded by regulation—have aptly been described as “a complex
         and not entirely reconcilable patchwork.” Id. at 659. Nevertheless,
         because some understanding of that law is necessary to discuss New
         Hope’s claims, we begin by discussing relevant statutory and
         regulatory provisions, starting with those pertaining to authorized
         adoption agencies.

                       1.      Authorized Agencies

                Adoption services in New York can only be provided by
         “authorized agencies,” i.e., entities incorporated or organized under
         New York law with corporate or legal authority “to care for, to place
         out or to board out children.” N.Y. Soc. Serv. Law §§ 371(10)(a),
         374(2). 4 More than 130 authorized agencies presently operate in New
         York. Fifty-eight such agencies are public, each operating as a unit of
         one of the State’s social services districts. More than 70 authorized
         agencies are private, non-profit organizations that voluntarily
         provide adoption services. Some do so pursuant to contracts with
         local social services districts and with government funding; others,
         such as New Hope, operate independently.

                The need for adoption services in New York, whether public or
         private, is undeniably great. In fiscal year 2017, more than 27,000




         4Children are “placed out” for adoption; they are “boarded out” for foster care.
         See N.Y. Soc. Serv. Law § 371(12), (14).




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         children in the State were in foster care. Some 4,400 were awaiting
         adoption. Nevertheless, only 1,729 were actually adopted that year.

               To facilitate adoptions, state law empowers authorized
         agencies to receive legal custody of children whose parents cannot
         care for them. Id. § 384; 18 NYCRR § 421.6. Authorized agencies can
         then board such children in foster homes or place them in prospective
         adoptive homes based on the agencies’ assessment of the children’s
         “best interests.” Most relevant here, authorized agency approval, or
         consent, is required to finalize the adoption of any child placed by
         that agency. See N.Y. Dom. Rel. Law §§ 111(1)(f), 113(1).

               A thicket of regulations applies to an authorized agency’s
         placement of a child for adoption. These regulations detail numerous
         areas for agency consideration, but they comprise no mere
         quantitative checklist.   Rather, most regulations, by their nature,
         entrust authorized agencies with considerable discretion in
         determining the best interests of a child. For example, agencies are
         instructed that in “[m]ak[ing] placement decisions,” a consideration
         of the child’s “best interests” shall “includ[e], but [is] not limited to”
         three factors. 18 NYCRR § 421.18(d). First is “the appropriateness of
         placement in terms of the age of the child and of the adoptive
         parent(s).” Id. § 421.18(d)(1). “Appropriateness” is hardly a matter of
         mathematical calculation; rather, it calls for the exercise of judgment.
         That same conclusion obtains for the second factor: “the physical and
         emotional needs of the child in relation to the characteristics,
         capacities, strengths and weaknesses of the adoptive parent(s).” Id.
         § 421.18(d)(2). Judgment is also called for by the third factor, which




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         requires placing sibling children together absent documented
         findings, made by the agency in consultation with identified
         professionals, that such placement would inure to the detriment of
         one or more of the children. See id. § 421.18(d)(3).

               Judgment and discretion also necessarily inform the “adoption
         study process” that must precede any placement. Id. § 421.15. This is
         evident from the litany of topics that an authorized agency is expected
         to discuss in “explor[ing] each applicant’s ability to be an adoptive
         parent.” Id. § 421.15(d). Among these are the “characteristics and
         needs of children available for adoption”; principles of child
         development; the applicant’s “reasons” for wishing to adopt;
         “understanding of the adoptive parent role”; “psychological
         readiness to assume responsibility for a child”; and “self-assessment”
         of “capacity to provide a child with a stable and meaningful
         relationship.” Id. The agency is further expected to explore other
         household members’ “attitudes . . . about adoption,” and “the[ir]
         awareness of the impact that adoptive responsibilities have upon
         family life.” Id. Again, none of these matters is quantifiable; rather,
         they call for qualitative assessments by authorized agencies.

               Agency judgment will also have to inform the required
         assessment of a prospective adoptive parent’s,

               (1)    capacity to give and receive affection;
               (2)    ability to provide for a child’s physical and
                      emotional needs;
               (3)    ability to accept the intrinsic worth of a child, to
                      respect and share his past, to understand the




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                          meaning of separation he has experienced, and to
                          have realistic expectations and goals;
                   (4)    flexibility and ability to change;
                   (5)    ability to cope with problems, stress and
                          frustration;
                   (6)    feelings about parenting an adopted child and the
                          ability to make a commitment to a child placed in
                          the home; and
                   (7)    ability to use community resources to strengthen
                          and enrich family functioning.

         Id. § 421.16(a).

                   While this sampling of applicable regulations indicates a
         largely holistic approach to identifying the best interests of an
         adopted child, regulations single out certain factors that should not
         be considered or, at least, not be determinative. For example, a
         prospective adoptive parent cannot “be rejected on the basis of low
         income, or because of receipt of income maintenance payments.” Id.
         § 421.16(j). Nor can rejection be based on marital status, subject to
         certain caveats. Id. § 421.16(d). 5 “Race, ethnic group, and religion”
         also cannot be a basis for rejection, id. § 421.16(i), though here too

         5   18 NYCRR § 421.16(d) states with respect to “[m]arital status”:

               Agencies must not consider marital status in their acceptance or
               rejection of applicants. However, one married partner may not adopt
               without the other unless one partner is living separate and apart from
               his or her spouse pursuant to a legally recognizable separation
               agreement or decree of separation, or one partner has been or will be
               living separate and apart from his or her spouse for a period of three
               years or more prior to the commencement of the adoption proceeding.




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         other statutory and regulatory provisions appear to qualify the
         prohibition. 6

                At the same time, regulations instruct an agency to reject
         adoption applicants who fail to cooperate in the study process. See id.
         § 421.15(g)(1). Rejection is also warranted if the agency finds an
         applicant “physically” or “emotionally” “incapable of caring for an
         adopted child,” id. § 421.15(g)(2)(i)–(ii), or if the agency concludes that
         “approval would not be in the best interests of children awaiting
         adoptions,” id. § 421.15(g)(2)(iii)—both matters requiring an exercise
         of judgment.        Rejection, however, triggers certain procedural
         safeguards, including the opportunity for a hearing before OCFS. See
         id. § 421.15(g)(3)–(8).

                On the other hand, if, after completion of the required study,
         an authorized agency decides to approve adoption by a particular
         applicant or applicants—thereby concluding that adoption by that
         applicant or applicants is “in the best interests of children awaiting
         adoptions,” id. § 421.15(g)(2)(iii)—the agency creates “a written

         6See 18 NYCRR § 421.18(c) (requiring authorized agency to place child in adoptive
         home “as similar to and compatible with his or her religious background as
         possible with particular recognition that section 373(3) of the Social Services Law
         requires a court, when practicable, to give custody through adoption only to
         persons of the same religious faith as that of the child”); id. § 421.18(d)(2)
         (permitting authorized agency, when making placement decisions, to “consider
         the cultural, ethnic or racial background of the child and the capacity of the
         adoptive parent to meet the needs of the child with such a background as one of a
         number of factors used to determine best interests,” but only where “[r]ace, color
         or national origin of the child or the adoptive parent . . . can be demonstrated to
         relate to the specific needs of an individual child”).




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         summary of the study findings and activities, including significant
         characteristics of . . . family members, the family interaction, the
         family’s relationship to other persons and the community, the
         family’s child rearing practices and experiences, and any other
         material needed to describe the family for adoption purposes,” and
         provides that summary “to workers in the agency . . . responsible for
         making placement decisions about children,” id. § 421.15(e)(1). The
         agency works with the approved prospective parents to identify an
         adoptive child to be placed with them, “[m]ak[ing] placement
         decisions on the basis of the best interests of th[at] child.”                 Id.
         § 421.18(d). The agency and prospective parents then submit to a
         court a verified petition for adoption and an adoptive placement
         agreement, see N.Y. Dom. Rel. Law § 112(2)–(3), (5), and the court
         decides whether to accept the agency’s approval and to order
         adoption, id. §§ 113, 114. Generally, “no order of adoption shall be
         made until [the adoptive] child has resided with the adoptive parents
         for at least three months.” Id. § 112(6).

                New York law authorizes the Commissioner of OCFS to enforce
         laws and rules pertaining to adoption.             See N.Y. Soc. Serv. Law
         § 34(3)(e). 7 By law, OCFS is authorized to visit, inspect, and supervise
         authorized adoption agencies.            See id. § 371(10). Where OCFS
         determines that an agency has placed or boarded a child (1) “for

         7  It is undisputed on this appeal that this enforcement authority, originally
         conferred on the Commissioner of the New York State Department of Social
         Services, see N.Y. Soc. Serv. Law § 34(3)(e), now rests with OCFS, a branch of the
         New York State Department of Family Assistance, the successor agency to the
         Department of Social Services, see 1997 N.Y. Laws 2922.




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         purposes of gain,” (2) “without due inquiry as to the character and
         reputation of the person with whom such child is placed,” (3) “in such
         manner that such child is subjected to cruel or improper treatment or
         neglect or immoral surroundings,” or (4) “in such manner that the
         religious faith of the child is not preserved and protected as provided
         [by law],” OCFS is specifically authorized, upon notice and an
         opportunity to be heard, to “issue an order prohibiting such an
         authorized agency . . . from thereafter placing out or boarding out any
         child.” Id. § 385(1).

                      2.     18 NYCRR § 421.3(d)

               We now turn to the regulation at issue in this case, 18 NYCRR
         § 421.3(d), beginning with some background to its pronouncement.

               As the New York Court of Appeals has observed, the “pattern
         of amendments” to New York adoption law over the last 75 years
         “evidences a successive expansion of the categories of persons
         entitled to adopt.” Matter of Jacob, 86 N.Y.2d at 660–61. Consistent
         with a general purpose to assure that “as many children as possible
         are adopted into suitable family situations,” certain of these
         amendments reflect “fundamental changes that have taken place in
         the makeup of the family.” Id. at 661 (internal quotation marks
         omitted).

               As relevant here, until 2010, New York’s Domestic Relations
         Law permitted only “[a]n adult unmarried person or an adult
         husband and his adult wife together” to adopt a child. N.Y. Dom. Rel.
         Law § 110 (2009). This law did not prohibit a homosexual person from




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         adopting as a single “adult unmarried person.” See Matter of Jacob, 86
         N.Y.2d at 662 (stating that “New York does not prohibit adoption by
         homosexuals,” and observing that administrative regulation forbids
         denial of agency adoption on basis of homosexuality 8). But it was
         understood not to permit an unmarried couple, whatever their sexual
         orientation, jointly to adopt a child.

                That conclusion was eroded, however, by court rulings
         beginning with the 1995 decision in Matter of Jacob, 86 N.Y.2d 651. In
         that case, the New York Court of Appeals construed § 110’s “adult
         unmarried person” phrase to allow the same-sex partner of a child’s
         biological mother to adopt the child without the mother surrendering
         her rights, thereby effectively allowing a same-sex couple to become
         the child’s parents. See id. at 660–62, 665–68. A decade later, the
         Fourth Department construed Jacob’s reasoning to compel the
         conclusion that an unmarried, same-sex couple—neither member of
         which was the child’s biological parent—could jointly petition for
         adoption of a child rather than being required to file separately. See
         In re Adoption of Carolyn B., 6 A.D.3d 67, 68–70, 774 N.Y.S.2d 227 (4th
         Dep’t 2004).




         8The referenced regulation stated that adoption “[a]pplicants shall not be rejected
         solely on the basis of homosexuality.” 18 NYCRR § 421.16(h)(2) (2009). Rather,
         “[a] decision to accept or reject when homosexuality is at issue shall be made on
         the basis of individual factors as explored and found in the adoption study process
         as it relates to the best interests of adoptive children.” Id. This regulation,
         promulgated in or about 1981, remained in effect until 2013, when it was
         supplanted by 18 NYCRR § 421.3(d), discussed infra at 19–21.




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               Mindful of these decisions, the New York State legislature, in
         2010, amended § 110 to state that “[an] adult unmarried person, an
         adult married couple together, or any two unmarried adult intimate
         partners together may adopt another person.” N.Y. Dom. Rel. Law
         § 110. In a signing statement accompanying his approval of the bill,
         then-Governor David Paterson observed that the amendment
         expanded qualified adoption applicants to include same-sex couples,
         “mak[ing] absolutely clear a principle that has already been
         established by the courts, and that ensures fairness and equal
         treatment to families that are ready, willing and able to provide a
         child with a loving home . . . includ[ing] same-sex couples, regardless
         of whether they are married.” Gov. Mem., New York Bill Jacket, 2010
         S.B. 1523, ch. 509 (internal citation omitted).    At the same time,
         however, the Governor stated that “since the statute is permissive, it
         would allow for such adoptions without compelling any agency to
         alter its present policies.” Id. In sum, he characterized amended § 110
         as “a wise, just and compassionate measure that expands the rights of
         New Yorkers, without in any way treading on the views of any citizen
         or organization.” Id.

               The new law went into effect on September 17, 2010, and
         prompted OCFS to issue two “informational letters” to authorized
         agencies.   The first letter, dated January 11, 2011, and entitled
         “Adoption by Two Unmarried Adult Intimate Partners,” stated that
         amended § 110 “codifies . . . court decisions that authorize unmarried
         persons to adopt a child together,” but “does not change or alter the
         standards currently in place for the approval of an individual as an




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         adoptive parent.” OCFS Informational Ltr., 11-OCFS-INF-01. A copy
         of the Governor’s quoted signing statement was attached to this letter.

               The second letter, dated July 11, 2011, and entitled
         “Clarification of Adoption Study Criteria Related to Length of
         Marriage and Sexual Orientation,” addressed the effect of amended
         § 110 on two existing OCFS regulations: 18 NYCRR § 421.16(e)
         (prohibiting rejection of applicants for adoption study on basis of
         “length of time they have been married, provided that time is at least
         one year”) and 18 NYCRR § 421.16(h)(2) (prohibiting rejection of
         applicants “solely on the basis of homosexuality”). As to the first
         regulation, OCFS instructed authorized agencies that the amended
         statute no longer permitted rejecting an adoption applicant “solely on
         the basis that the length of marriage is less than one year.” OCFS
         Informational Ltr., 11-OCFS-INF-05. As to the second regulation,
         OCFS stated that its purpose “is to prohibit discrimination based on
         sexual orientation in the adoption study assessment process,” and
         that “OCFS cannot contemplate any case where the issue of sexual
         orientation would be a legitimate basis, whether in whole or in part,
         to deny the application of a person to be an adoptive parent.” Id.

               Two years later, in November 2013, OCFS replaced both
         regulations with the provision here at issue: 18 NYCRR § 421.3(d). See




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         35 N.Y. Reg. 3 (Nov. 6, 2013). 9            It requires authorized adoption
         agencies,

                [to] prohibit discrimination and harassment against
                applicants for adoption services on the basis of race,
                creed, color, national origin, age, sex, sexual orientation,
                gender identity or expression, marital status, religion, or
                disability, and[] [to] take reasonable steps to prevent
                such discrimination or harassment by staff and
                volunteers,    promptly      investigate     incidents    of
                discrimination and harassment, and take reasonable and
                appropriate corrective or disciplinary action when such
                incidents occur.

         18 NYCRR § 421.3(d).

                 In promulgating this provision, OCFS stated that the
         regulation would “promote fairness and equality in the child welfare
         adoption program by eliminating archaic regulatory language that
         implies the sexual orientation of gay, lesbian and bisexual prospective
         adoptive parents—but not of heterosexual prospective adoptive




         918 NYCRR § 421 concerns “Standards of Practice for Adoption Services.” Section
         421.3 lists “General Requirements.” At the time of the proposed amendment, the
         provision required adoption agencies (a) to have written policies and procedures;
         (b) to make provisions for those policies to be available and provide them to
         parents, adoptive applicants, and legal guardians; and (c) to maintain appropriate
         records.




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         parents—is relevant to evaluating their appropriateness as adoptive
         parents.” 35 N.Y. Reg. 4 (Aug. 7, 2013) (proposed rulemaking). 10

                B.      New Hope’s Adoption Services

                New Hope’s Christian ministry was conceived by clergyman
         Clinton H. Tasker who, in 1958, sensed a “call of God” to care for
         women facing unplanned pregnancies and for their children.11
         Compl. ¶ 40. Tasker’s idea was realized in 1965, when Evangelical
         Family Service, Inc.—New Hope’s predecessor agency—sought and
         obtained from New York’s Board of Social Welfare a two-year
         certificate of incorporation authorizing it “to accept legal custody and
         guardianship of children; to provide protective service for children;
         to provide foster care service to child[ren] and unwed mother[s]; to
         place children for adoption; and [to] function in complete cooperation
         with all existing social welfare agencies.” J. App’x at 66; see N.Y. Soc.


         10In opposing New Hope’s motion for a preliminary injunction in this litigation,
         OCFS assigned three other purposes to 18 NYCRR § 421.3(d): (1) it helps “provide
         a broad and diverse pool of adoptive parents” and “maximizes the number of
         prospective adoptive parents who may be assessed”; (2) it “seeks to prevent the
         trauma and social harm caused by discrimination against [LGBTQ] people” and
         “provides support and affirmation to LGBTQ youth awaiting an adoptive
         placement”; and (3) it reinforces “the State[’s] . . . strong interest in preventing
         discrimination in the provision of government services.” J. App’x at 168–69
         (McCarthy Decl.).
         11 New Hope traces the long tradition of Christian adoption ministries to the
         following biblical passage: “Religion that God our Father accepts as pure and
         faultless is this: to look after orphans and widows in their distress.” James 1:27
         (quoted in Compl. ¶ 35).




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         Serv. Law § 371(10)(a). Two years later, in 1967, New York made the
         certificate “perpetual.” J. App’x at 73–76. 12 Thus, when in a 2008
         letter, OCFS—as successor to the Board of Social Welfare—traced
         New Hope’s authorization history, it confirmed that New Hope’s
         “authority to place children for adoption and to perform other
         adoption services, including home studies . . . in New York is
         perpetual.” Id. at 79.

                 New Hope maintains that its “Christian faith and religious
         beliefs motivate and permeate its mission and all of its activities.”
         Compl. ¶ 52.        In defending dismissal, OCFS does not contend
         otherwise, nor does it challenge the sincerity of New Hope’s religious
         beliefs.

                 Consistent with its religious identity, New Hope requires all
         board members, staff, and volunteers to “be in agreement with and
         sign New Hope’s statement of faith, . . . be in agreement with and
         supportive of [its] religious mission, and . . . conduct themselves
         consistent with Christian faith and belief.” Id. ¶ 53. Moreover, “to
         scrupulously ensure its autonomy to operate in accordance with its
         religious beliefs, New Hope accepts no government funding.” Id.
         ¶ 51.




         12See N.Y. Bus. Corp. Law § 202(a)(1) (“Each corporation, subject to any limitations
         provided in this chapter or any other statute of this state or its certificate of
         incorporation, shall have power in furtherance of its purposes . . . [t]o have
         perpetual duration.”).




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                New Hope asserts that its religious beliefs prompt it to conduct
         its adoption ministry in such a way as to convey a “system of values
         about life, marriage, family and sexuality to both birthparents and
         adoptive parents.” Id. ¶ 270. Thus, when prospective parents attend
         an initial orientation session, “New Hope . . . open[s] the meeting with
         prayer, . . . provid[es] information about the organization’s history
         and religious mission,” and uses “scripture passages” to explain that
         “children are to be valued as gifts from God.” Id. ¶ 105.

                New Hope also uses prayer and religious literature in
         conducting the second, “home study,” step of the adoption process.
         See id. ¶¶ 109, 111–112. During this study, a New Hope caseworker
         “explore[s] the prospective adoptive parents’ experience with
         children, family support, parenting philosophy, ability to parent a
         child of a different race or culture, faith and religious practice, and
         family dynamics, including interviews of any children in the home.”
         Id. ¶ 114.

                At the third step of the process, a New Hope caseworker
         explores in still more detail the prospective parents’ “strengths and
         weaknesses,” their “family dynamics, thoughts on discipline and
         affection, work responsibilities, marital stability . . . , mental-health
         history, financial stability, and parenting philosophy.” Id. ¶ 117.
         Married couples are interviewed together and separately to
         determine the “intimacy and strength of the marriage” in order to
         ensure that their home “will be a safe, stable environment for the
         [adopted] child.” Id. ¶¶ 116, 118, 120.




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               Following this session, the caseworker and New Hope’s
         Executive Director together review the entire case file to decide
         whether to approve or disapprove applicants as prospective adoptive
         parents based on “the best interest of any child who may be placed in
         the home.” Id. ¶ 121.

               Approved adoptive parents then participate in the fourth step
         of the process where, among other things, New Hope instructs them
         as to how to prepare their “profiles.”             New Hope shows
         approximately five such profiles to a birthmother for her to “select the
         adoptive family with whom she feels comfortable entrusting her
         child.” Id. ¶¶ 66, 97, 125. New Hope states that “[a]ll” birthmothers
         with whom it has worked “have been able to find a family with whom
         they were comfortable placing their child for adoption from the
         profiles” thus provided. Id. ¶ 99.

               At the fourth step, New Hope also asks approved adoptive
         parents whether they are willing to participate in “open adoptions,”
         i.e., adoptions where birth parents maintain some contact with the
         adopted child pursuant to a “Contact Agreement” facilitated by New
         Hope until the child turns 18.        Because almost all New Hope’s
         adoptions are “open,” its involvement in adoptions thus continues
         well after a court finalizes transfer of a child’s custody. Id. ¶¶ 78–81.

               Finalization does not occur, however, until after a child spends
         no fewer than three months, and sometimes as much as a year, living
         with approved adoptive parents under New Hope’s supervision.
         During this period, New Hope maintains legal custody of the child




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         and conducts regular visits to ensure that the child is being well cared
         for and to assess the degree of attachment developing between the
         adoptive parents and the child. See id. ¶¶ 133–138.

               New Hope’s “field reports” about the placement, together with
         its home study report, are then finalized and notarized and become
         its “official recommendation of the adoptive family for the adoption
         of the specific child.” Id. ¶¶ 139–141.

               C.     New Hope’s Religious Beliefs and 18 NYCRR § 421.3(d)

               The particular religious belief subscribed to by New Hope and
         relevant to this appeal is that “[t]he biblical model for the family as
         set out in the Bible—one man married to one woman for life for their
         mutual benefit and the benefit of their children—is the ideal and
         healthiest family structure for mankind and specifically for the
         upbringing of children.” Id. ¶ 56. Because of this belief, New Hope
         asserts that it “will not recommend or place children with unmarried
         couples or same-sex couples as adoptive parents.” Id. ¶ 153. It does
         not believe that such a placement is in a child’s best interests.

               New Hope maintains that its religious views about marriage do
         not otherwise limit its ministry. In providing pregnancy counseling,
         New Hope routinely works with unmarried women and does so
         without regard to their sexual orientation. But, as to adoption, New
         Hope’s religious views about marriage are formalized in a “Special
         Circumstances” policy, which states,




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              If the person inquiring to adopt is single . . . [t]he Executive
              Director [of New Hope] will talk with them to discern if they
              are truly single or if they are living together without the
              benefit of marriage. . . . [B]ecause New Hope is a Christian
              Ministry it will not place children with those who are living
              together without the benefit of marriage.

              If the person inquiring to adopt is in a marriage with a same
              sex partner . . . [t]he Executive Director will . . . explain that
              because New Hope is a Christian Ministry, we do not place
              children with same sex couples[].

         Id. ¶ 154. 13

                Nevertheless, mindful that its religious beliefs are not
         universal, New Hope does not itself “reject” unmarried or same-sex
         couples as adoptive parents. See supra at 14 (discussing rejection of
         adoption applicants).         Rather, it effectively recuses itself from
         considering their adoption applications, referring them at the outset
         to “the appropriate county social services office or another
         [authorized adoption services] provider.” Id. ¶ 156. New Hope
         asserts on information and belief that “no same-sex couple or
         unmarried couple who has inquired with New Hope about adoption
         has ever complained to OCFS about how New Hope handled their
         inquiry.” Id. Nor is there anything in the present record indicating




         13While it appears that New Hope’s religious view of marriage has remained
         constant throughout its history, it is not clear from the record exactly when this
         policy was committed to writing.




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         that New Hope’s policy has prevented any same-sex or unmarried
         couple wishing to adopt from doing so.

                OCFS appears not to have questioned New Hope’s practice
         respecting unmarried and same-sex couples until 2018 when,
         pursuant to what OCFS characterized as a “new policy” implemented
         that year, it conducted a “comprehensive on-site review[] of each
         private provider’s procedures.”            Id. ¶ 182. 14   In advance of a
         September 6, 2018 site review of New Hope, OCFS Permanency
         Specialist Suzanne Colligan requested, and New Hope’s then-Acting
         Executive Director Judith Geyer provided, a copy of New Hope’s
         policies and procedures manual, which included the above-quoted
         Special Circumstances policy.

                Approximately one month after the site visit, on October 1,
         2018, Colligan sent Geyer a review letter issued by OCFS’s Regional
         Director for Child Welfare and Community Services. That letter
         commends New Hope for “a number of strengths” in providing
         adoption services, specifically, (1) “the strong emphasis [placed] on
         assisting the birth parents in making an informed decision for their
         newborn,” (2) “providing them time to make the [adoption]
         decision,” and—perhaps most notably for purposes of this appeal—
         (3) “a supportive and detailed adoptive family selection process.” Id.,
         Exh. 6. It identifies only three areas for follow-up: (1) “[i]mmediate
         implementation” of OCFS’s “Foster/Adoptive Home Certification


         14The record does not indicate the impetus for this new policy or detail how it
         departs from previous practice.




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         Approval Process,” (2) better procurement of health information
         pertaining to adoptive families, the adoptee, or birth parent; and (3)
         New Hope’s role and limitations regarding the exchange of
         information pertinent to surrender of custody. Id. The review letter
         makes no mention of New Hope’s Special Circumstances policy or of
         18 NYCRR § 421.3(d).

                A week later, however, in an October 9, 2018 telephone call to
         Geyer, Colligan stated that she had read New Hope’s manual, and
         that its Special Circumstances policy violated § 421.3(d). Colligan
         presented New Hope with two options: comply with the regulation
         by agreeing to place children with unmarried and same-sex couples,
         or “choos[e] to close.” Id. ¶¶ 188–190. Geyer responded that New
         Hope was unwilling to violate its religious beliefs by placing children
         with unmarried or same-sex couples, and that it would “never choose
         to close.” Id. ¶¶ 191, 193. Rather, OCFS would be “forcing” New
         Hope to close in violation of its religious freedom. Id. ¶ 193. Colligan
         told Geyer that “[s]ome Christian ministries have decided to
         compromise and stay open.” Id. ¶ 192 (brackets in original). 15



         15 As evidence that OCFS forced religious adoption agencies that did not
         compromise their beliefs to close, New Hope points to the 2018 disappearance of
         a number of religious authorized adoption agencies from OCFS’s website. See
         Compl. ¶ 202. It also observes that in a Buffalo News report about Catholic Charities
         Buffalo ending its 95-year history of adoption and foster care services, an OCFS
         spokeswoman is quoted as saying, “[d]iscrimination of any kind is illegal and in
         this case OCFS will vigorously enforce the laws designed to protect the rights of
         children and same sex couples. In New York State, we welcome all families who
         are ready to provide loving and nurturing homes to foster or adoptive children.




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                On October 11, 2018, Colligan advised Geyer that New Hope
         would be receiving a letter requesting a formal written response to
         the choices it had been given. The referenced letter from Laura Velez,
         Deputy Commissioner of Child Welfare and Community Services,
         states that New Hope’s “policy pertaining to not placing ‘children
         with those who are living together without the benefit of marriage’ or
         ‘same sex couples’ violates Title 18 NYCRR § 421.3, and is
         discriminatory and impermissible.” Id., Exh. 7. The letter requests
         that “within 15 days of receipt of this letter,” New Hope state in
         writing whether it will or will not “revise the policy so as to comply
         with the above-cited regulation” and, thus, “continue the existing
         adoption program.” Id. It advises that should New Hope “fail to
         bring the policy into compliance with the regulation, OCFS will be
         unable to approve continuation of [New Hope’s] current adoption
         program and [New Hope] will be required to submit a close-out plan
         for the adoption program.” Id.

                D.      Procedural History

                Rather than accept either of OCFS’s options, New Hope
         commenced this action on December 6, 2018. On December 12, 2018,
         it moved preliminarily to enjoin OCFS from forcing the closure of
         New Hope’s adoption services. OCFS opposed the motion, and on




         There is no place for providers that choose not to follow the law.” Id. ¶ 204
         (quoting Stephen T. Watson & Harold McNeil, Catholic Charities Ending Foster,
         Adoption Programs Over Same-Sex Marriage Rule, BUFFALO NEWS, August 23, 2018).




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         January 14, 2019, moved to dismiss New Hope’s complaint pursuant
         to Fed. R. Civ. P. 12(b)(6).

                 Following oral argument, the district court granted OCFS’s
         motion to dismiss and denied New Hope’s motion for a preliminary
         injunction as moot. See New Hope Family Servs., Inc. v. Poole, 387 F.
         Supp. 3d 194. The district court ruled that New Hope failed to state a
         plausible Free Exercise claim because 18 NYCRR § 421.3(d) is “[o]n its
         face . . . generally applicable and . . . neutral,” and no evidence
         indicated that the regulation “was drafted or enacted with the object
         to infringe upon or restrict practices because of their religious
         motivation.” Id. at 213–14 (internal quotation marks omitted). The
         district court ruled that New Hope failed to state a plausible Free
         Speech claim because § 421.3(d) “simply do[es] not compel speech,”
         or only compels “government[] speech.” Id. at 217. Insofar as New
         Hope also cast its Free Speech claim as one of “expressive
         association,” the district court ruled that § 421.3(d) caused only “slight
         impairment to New Hope’s expressive activity,” which, in any event,
         was outweighed by “the state’s compelling interest in prohibiting the
         discrimination at issue.” Id. at 219–20. 16



         16In granting dismissal, the district court observed that “OCFS does not contend
         that New Hope is not acting in the best interests of the children” it places for
         adoption, New Hope Family Servs. v. Poole, 387 F. Supp. 3d at 224, and expressed
         regret that the parties had not themselves been able to reach some accommodation:

              Until recent events, the parties have had a fruitful relationship; a
              relationship that has benefitted New York’s children in immeasurable
              ways. For this reason, the Court would prefer that the parties seek out




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                New Hope timely filed this appeal, moving for a preliminary
         injunction that would allow it, pending a final ruling by this court, to
         continue servicing pending adoptions subject to New Hope’s
         agreement not to accept any new adoption applications. This court
         granted such an injunction on November 4, 2019. On June 18, 2020,
         New Hope moved for this court to expand its injunction pending
         appeal to allow New Hope to accept new adoption applications.

                Discussion

                A.      Motion To Dismiss

                        1.     Standard of Review

                We review de novo the dismissal of a complaint for failure to
         state a claim. See DiFolco v. MSNBC Cable L.L.C., 622 F.3d at 110. In
         doing so, we “accept[] all factual allegations in the complaint as true,
         and draw[] all reasonable inferences in the plaintiff’s favor.” Shomo
         v. City of New York, 579 F.3d 176, 183 (2d Cir. 2009) (internal quotation
         marks omitted); accord DiFolco v. MSNBC Cable L.L.C., 622 F.3d at 111
         (“When there are well-pleaded factual allegations, a court should
         assume their veracity and then determine whether they plausibly give
         rise to an entitlement to relief.” (emphasis in original) (quoting
         Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009))).



            some compromise to their current dispute without further judicial
            intervention . . . to avoid what may appear . . . to be harsh legal results.

         Id. at 225 (internal quotation marks omitted).




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                      2.     Free Exercise Claim

               New Hope argues that the district court erred in concluding
         that it failed to plead a plausible Free Exercise claim against OCFS.
         Specifically, New Hope challenges the district court’s determination
         that OCFS was simply enforcing a neutral and generally applicable
         anti-discrimination regulation when it insisted that New Hope either
         agree to approve unmarried and same-sex applicants for adoption or
         close its adoption service. For reasons explained herein, we conclude
         that the dismissal of New Hope’s Free Exercise claim was premature.
         The pleadings allege that OCFS’s actions preclude New Hope from
         pursuing its adoption ministry consistent with its religious beliefs.
         Even if such intrusion on the exercise of religion would not violate the
         First Amendment if compelled by a valid and neutral law (or
         regulation) of general application, the pleadings here, when viewed
         in the light most favorable to New Hope, do not permit a court to
         conclude, as a matter of law, that OCFS’s actions in promulgating and
         enforcing the regulation at issue were neutral and not informed by
         hostility toward certain religious beliefs.

                             a.    Applicable Legal Principles

               To explain that conclusion, we start with the First Amendment,
         which famously states that “Congress shall make no law respecting
         an establishment of religion, or preventing the free exercise thereof
         . . . .” U.S. CONST. amend. I. The Fourteenth Amendment extends the
         protections of these Establishment and Free Exercise Clauses against




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         state and local governments. See U.S. CONST. amend. XIV; Cantwell v.
         Connecticut, 310 U.S. 296, 303 (1940).

                  As the Supreme Court reiterated only last term, “[t]he Religion
         Clauses of the Constitution aim to foster a society in which people of
         all beliefs can live together harmoniously,” not a society devoid of
         religious beliefs and symbols. American Legion v. Am. Humanist Assoc.,
         139 S. Ct. 2067, 2074 (2019); see also County of Allegheny v. ACLU, 492
         U.S. 573, 623 (1989) (O’Connor, J., concurring in part and concurring
         in the judgment) (observing that First Amendment does not require
         courts     to   “sweep    away    all    government   recognition   and
         acknowledgment of the role of religion”). The Free Exercise Clause,
         in particular, guarantees to all Americans the “right to believe and
         profess whatever religious doctrine [they] desire[],” even doctrines
         out of favor with a majority of fellow citizens. Employment Div. v.
         Smith, 494 U.S. 872, 877 (1990). Thus, it has long been the rule—as
         famously pronounced by Justice Jackson—that no government
         “official, high or petty, can prescribe what shall be orthodox in
         politics, nationalism, religion, or other matters of opinion.” West Va.
         Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943); accord Masterpiece
         Cakeshop v. Colo. Civil Rights Comm’n, 138 S. Ct. 1719, 1731 (2018).
         Rather, “[t]he Constitution commits government itself to religious
         tolerance, and upon even slight suspicion that proposals for state
         intervention stem from animosity to religion or distrust of its
         practices, all officials must pause to remember their own high duty to
         the Constitution and to the rights it secures.” Masterpiece Cakeshop v.




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         Colo. Civil Rights Comm’n, 138 S. Ct. at 1731 (internal quotation marks
         omitted).

               These principles are particularly relevant to beliefs about
         family and marriage, where society’s views have sometimes proved
         more fluid than religion’s. As pertinent here, the Supreme Court
         recently traced how society’s view of same-sex marriage has evolved
         over the last forty years, such that what was once prosecuted as a
         criminal offense is now recognized as a fundamental right.         See
         Obergefell v. Hodges, 135 S. Ct. 2584, 2596–605 (2015). Nevertheless,
         some religions maintain that same-sex marriage is morally wrong,
         just as some religions view unmarried co-habitation, remarriage after
         divorce, or conception without marriage as morally wrong
         notwithstanding society’s general acceptance of such conduct. The
         Supreme Court has declined to fault such religious views about
         marriage, observing that “[m]any who deem same-sex marriage to be
         wrong reach that conclusion based on decent and honorable religious
         or philosophical premises, and neither they nor their beliefs are
         disparaged here.” Id. at 2602. Indeed, the Court has suggested that
         differing secular and religious views in this area should be allowed to
         coexist. This is evident from the fact that, at the same time that the
         Court ruled that the Constitution does not permit government to
         prohibit same-sex marriage, it “emphasized that religions, and those
         who adhere to religious doctrines, may continue to advocate with
         utmost, sincere conviction that, by divine precepts, same-sex
         marriage should not be condoned.”         Id. at 2607.   Indeed, such
         advocacy is constitutionally protected:




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               The First Amendment ensures that religious
               organizations and persons are given proper protection as
               they seek to teach the principles that are so fulfilling and
               so central to their lives and faiths, and to their own deep
               aspirations to continue the family structure they have
               long revered.

          Id. The Court reiterated the point the next year: “[R]eligious and
         philosophical objections to gay marriage are protected views and in
         some instances protected forms of expression.” Masterpiece Cakeshop
         v. Colo. Civil Rights Comm’n, 138 S. Ct. at 1727; cf. Bostock v. Clayton
         Cty., 140 S. Ct. 1731, 1753–54 (2020) (construing Title VII of Civil
         Rights Act of 1964, 42           U.S.C. § 2000e–2(a)(1),      to   prohibit
         discrimination on the basis of sexual orientation, but recognizing fear
         that compliance “may require some employers to violate their
         religious convictions” and expressing “deep[] concern[] with
         preserving the promise of the free exercise of religion enshrined in
         our Constitution”).

               But if some accommodation on this matter is the Court’s
         expectation, delineating constitutional boundaries is challenging. As
         the Chief Justice observed in Obergefell, anticipating the very case now
         before us, “[h]ard questions arise when people of faith exercise
         religion in ways that may be seen to conflict with the new right to
         same-sex marriage—when, for example, . . . a religious adoption
         agency declines to place children with same-sex married couples.”
         Obergefell v. Hodges, 135 S. Ct. at 2525–26 (Roberts, C.J., joined by Scalia
         and Thomas, JJ., dissenting).




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               In confronting those hard questions here, we are mindful that
         the Supreme Court has recognized that the exercise of religion can
         involve not only belief and expression, but also “physical acts,” such
         as “assembling with others for a worship service, participating in
         sacramental use of bread and wine, proselytizing, abstaining from
         certain foods or certain modes of transportation.” Employment Div. v.
         Smith, 494 U.S. at 877. The Free Exercise Clause does not permit
         government to “ban such acts or abstentions only when they are
         engaged in for religious reasons, or only because of the religious belief
         that they display,” id., at least not without showing that the ban “is
         justified by a compelling interest and is narrowly tailored to advance
         that interest,” Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah
         (“Lukumi v. Hialeah”), 508 U.S. 520, 533 (1993).      But the law has
         permitted government to avoid showing a compelling interest and
         narrow tailoring if the challenged ban on a religious practice is
         required by a valid and neutral law of general applicability.
         Employment Div. v. Smith, 494 U.S. at 879 (stating that Free Exercise
         Clause does “not relieve an individual of the obligation to comply
         with a valid and neutral law of general applicability on the ground
         that the law proscribes (or prescribes) conduct that his religion
         prescribes (or proscribes)” (internal quotation marks omitted)).

               Almost from its pronouncement, Smith’s construction of the
         Free Exercise Clause has prompted criticism. See, e.g., Michael W.
         McConnell, The Origins and Historical Understanding of Free Exercise of
         Religion, 103 HARV. L. REV. 1409, 1420 & n.43 (1990); see also Kennedy v.
         Bremerton Sch. Dist., 139 S. Ct. 634, 637 (2019) (Alito, J., joined by




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         Thomas, Gorsuch, and Kavanaugh, JJ., concurring in denial of
         certiorari) (observing that case did not ask Court to revisit Employment
         Division v. Smith, which “drastically cut back on the protection
         provided by the Free Exercise Clause”). The Supreme Court has
         recently agreed to revisit its decision in Smith, with argument
         expected some time next term. See Fulton v. City of Philadelphia, 140 S.
         Ct. 1104 (Feb. 24, 2020) (mem.). We need not delay deciding this case,
         however, to see if Fulton yields a more protective Free Exercise
         standard than Smith because we conclude that New Hope’s Free
         Exercise claim should not have been dismissed even under the Smith
         standard as presently applied. A court construing the pleadings in
         the light most favorable to New Hope could not conclude as a matter
         of law that OCFS was simply applying a valid neutral law of general
         application when it instructed New Hope either to agree to approve
         unmarried and same-sex couples as adoptive parents or to close its
         50-year adoption ministry.

               The Supreme Court has instructed that a law is not neutral if its
         object “is to infringe upon or restrict practices because of their
         religious motivation.”     Lukumi v. Hialeah, 508 U.S. at 533.        To
         determine the object of a law, a court “begin[s] with its text, for the
         minimum requirement of neutrality is that a law not discriminate on
         its face” against religion. Id. Like the district court, we conclude that
         the regulation here at issue, 18 NYCRR § 421.3(d), does not on its face
         discriminate against religion because its prohibitions apply equally to
         all adoption services, both secular and religious.




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               But facial neutrality is only the first, and by no means the
         determinative, step in a Free Exercise inquiry. See Lukumi v. Hialeah,
         508 U.S. at 534. Mindful that government hostility to religion can be
         “masked, as well as overt,” a court must proceed to a second step of
         inquiry to identify even those “subtle departures from neutrality,” or
         “covert suppression of particular religious beliefs” that will be not be
         tolerated unless supported by a compelling interest and narrow
         tailoring. Id. at 534, 546 (internal quotation marks omitted); accord
         Masterpiece Cakeshop v. Colo. Civil Rights Comm’n, 138 S. Ct. at 1731. At
         this second step, a court must “survey meticulously” the totality of
         the evidence, “both direct and circumstantial.” It must consider “the
         historical background of the decision under challenge, the specific
         series of events leading to the enactment or official policy in question,
         and    the     legislative   or   administrative   history,   including
         contemporaneous        statements    made     by   members      of   the
         decisionmaking body.”        Lukumi v. Hialeah, 508 U.S. at 534, 540
         (internal quotation marks omitted); accord Masterpiece Cakeshop v. Colo.
         Civil Rights Comm’n, 138 S. Ct. at 1731. It must also carefully consider
         “the effect of a law in its real operation,” which “is strong evidence of
         its object.” Lukumi v. Hialeah, 508 U.S. at 535.

               Applying those principles here, we conclude that the pleadings
         give rise to a sufficient “suspicion” of religious animosity to warrant
         “pause” for discovery before dismissing New Hope’s claim as
         implausible. Masterpiece Cakeshop v. Colo. Civil Rights Comm’n, 138 S.
         Ct. at 1731.




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                            b.    The District Court’s Cited Authorities Do
                                  Not Support Dismissal

               New Hope maintains that the following pleadings indicate that
         18 NYCRR § 421.3(d), as promulgated and enforced, is not neutral and
         generally applicable.

               (1) Amended Dom. Rel. Law § 110—the law OCFS contends 18
                  NYCRR § 421.3(d) “is consistent with” and “implements,”
                  Appellee Br. at 6–7—is permissive, not mandatory.
                  Moreover, New York’s then-Governor, in signing the law,
                  specifically stated that it “allow[s] for . . . adoptions [by
                  unmarried and same-sex couples] without compelling any
                  agency to alter its present policies.” Compl. ¶ 7.

               (2) Initially, OCFS took the position that amended § 110 “does
                  not change or alter the standards currently in place for the
                  approval of an individual as an adoptive parent.” Id. ¶ 162.

               (3) OCFS then shifted its position.    Despite the Governor’s
                  statement that the amended statute did not require agencies
                  to “alter [their] present policies,” OCFS asserted that it
                  “cannot contemplate any case where the issue of sexual
                  orientation would be a legitimate basis, whether in whole or
                  in part, to deny the application of a person to be an adoptive
                  parent.” Id. ¶ 164.

               (4) During the rulemaking process preceding promulgation of
                  18 NYCRR § 421.3(d), OCFS stated that the regulation was
                  needed to “eliminate archaic regulatory language, which




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                  implies that the sexual orientation of gay, lesbian and
                  bisexual prospective parents . . . is relevant to evaluating
                  their appropriateness as adoptive parents.”           Id. ¶ 166
                  (emphasis in original).

               (5) When New Hope told OCFS that its comply-or-close order
                  violated New Hope’s freedom of religion, OCFS told the
                  agency that “some Christian ministries have decided to
                  compromise and stay open.” Id. ¶ 192 (brackets removed).

               (6) Since § 421.3(d) took effect, “several voluntary faith-based
                  authorized [adoption] agencies that were listed on OCFS’[s]
                  website in January of 2018” and that “share similar beliefs”
                  to New Hope’s “have been removed by OCFS from that
                  posted list.” These include “several Catholic providers, a
                  Jewish provider, an LDS provider, and a Muslim provider.”
                  Id. ¶¶ 202–203.

               (7) In a 2018 news report about the closure of a Christian
                  adoption ministry operating for 95 years in Buffalo, New
                  York, an OCFS spokeswoman is quoted stating that
                  “[d]iscrimination of any kind is illegal . . . . There is no place
                  for providers that choose not to follow the law.” Id. ¶ 204.

               (8) The State’s statutory and regulatory scheme governing
                  adoption “provides exemptions for secular, nonreligious
                  purposes” and “allow[s] adoption providers to consider
                  protected characteristics when making placements,” while




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                   imposing an “absolute bar” against consideration of sexual
                   orientation. Id. ¶¶ 248–250.

               In concluding that these allegations were insufficient to state a
         plausible Free Exercise claim, the district court observed that the
         allegations did not indicate “[the] type of hostility or bias
         demonstrated in Masterpiece Cakeshop or Lukumi.” New Hope Family
         Servs., Inc. v. Poole, 387 F. Supp. 3d at 214. Instead, the district court
         thought that New Hope’s pleadings “more closely align with Fulton
         [v. City of Philadelphia, 922 F.3d 140 (3d Cir. 2019), cert. granted, 140 S.
         Ct. 1104, see supra at 37], where the Third Circuit found that the
         plaintiff was unlikely to succeed on its claim because the record
         demonstrated that the defendant respected the plaintiff’s sincerely
         held beliefs while enforcing the anti-discrimination provision at
         issue.” Id.

               We cannot agree. At first glance, Fulton may appear similar to
         this case in that, there, a religious foster care agency, Catholic Social
         Services (“CSS”), claimed that a government entity, the City of
         Philadelphia, violated its Free Exercise and Free Speech rights by
         insisting that CSS not discriminate against same-sex couples as a
         condition of its continuing to provide foster care services. But, in fact,
         this case differs from Fulton in ways important to our review.

               First, the relationship between CSS and Philadelphia was
         contractual and compensatory. See Fulton v. City of Philadelphia, 922
         F.3d at 147–48 (discussing contract between Philadelphia and CSS,
         which provided for City to compensate CSS for certain services at per




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         diem rate for each child placed in foster care). By contrast, while New
         Hope is authorized by New York to provide adoption services, it does
         not do so pursuant to any government contract, nor does it receive
         any government funding. Thus, whatever authority a government
         entity might claim to limit the free exercise of religion by those who
         become its agents or accept its funding, no such authority can be
         claimed here.

                Second, in Fulton, the issue under review was not the
         sufficiency of the pleadings, but the denial of CSS’s motion for a
         preliminary injunction. To secure such relief, CSS had to demonstrate
         a reasonable likelihood of success on its Free Exercise claim, a heavier
         burden than New Hope bears in pleading the plausible claim
         necessary to avoid dismissal. See id. at 151–52. The Third Circuit
         agreed with the district court that CSS failed to carry its burden “at
         the preliminary injunction stage” under the Smith standard. Id. at
         158–59. Whether or not this ruling survives Supreme Court review,
         what is important here is that in making it, the Fulton courts were not
         required to accept all CSS’s allegations as true or to draw all
         reasonable inferences in its favor. Compare id. at 152 (setting forth
         preliminary injunction standard), with Shomo v. City of New York, 579
         F.3d at 183 (stating motion to dismiss standard). Nowhere in Fulton
         does the Third Circuit suggest that CSS’s allegations, if assumed true,
         were insufficient to state a Free Exercise claim. 17



         17This case also differs from Fulton in that OCFS does not identify New Hope as a
         “public accommodation,” see Fulton v. City of Philadelphia, 320 F. Supp. 3d 661, 678–




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                As for Masterpiece Cakeshop and Lukumi, the Supreme Court
         there discussed Free Exercise violations based on fully developed
         evidentiary records. See Masterpiece Cakeshop v. Colo. Civil Rights
         Comm’n, 138 S. Ct. at 1726 (reviewing rulings made on cross-motions
         for summary judgment); Lukumi v. Hialeah, 508 U.S. at 528 (reviewing
         findings of fact and conclusions of law following nine-day bench
         trial). Where, as here, the parties have not yet commenced discovery,
         New Hope can hardly be required to plead facts as specific and
         detailed as those referenced in Masterpiece Cakeshop and Lukumi to
         avoid dismissal.

                               c.     The Pleadings Raise a Plausible Suspicion
                                      of Hostility to Certain Religious Beliefs

                In any event, New Hope’s pleadings easily give rise to the
         “slight suspicion” of religious animosity that the Supreme Court, in
         both Lukumi and Masterpiece Cakeshop, indicated could raise
         constitutional concern. Lukumi v. Hialeah, 508 U.S. at 547; Masterpiece
         Cakeshop v. Colo. Civil Rights Comm’n, 138 S. Ct. at 1731. In explaining
         this conclusion, we are obliged to discuss certain pleadings
         individually, but it is the totality that precludes dismissal.

                First, suspicion is raised by an apparent disconnect between 18
         NYCRR § 421.3(d) and the law it purports to implement, N.Y. Dom.
         Rel. Law § 110. As New Hope correctly observes, the statutory text is
         permissive, expanding the persons who “may adopt” to include


         79 (E.D. Pa. 2018) (identifying CSS foster care services as such), aff’d on other
         grounds, 922 F.3d 140, a point we discuss further infra at 46.




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         unmarried and same-sex couples. It contains no mandate requiring
         adoption agencies to approve adoption by any persons. Moreover,
         the wording choice appears to have been deliberate, and even
         intended to allow for accommodation of religious beliefs. This can be
         inferred from § 110’s enactment history. In a letter to the Governor
         that is included in the bill jacket, the New York State Catholic
         Conference voiced concern that the new legislation might be
         construed to require faith-based adoption agencies “to facilitate
         adoption for same-sex [couples] in violation of our religious beliefs
         and faith.” Ltr. from N.Y.S. Catholic Conf. to Governor (July 29, 2010),
         New York Bill Jacket, 2010 S.B. 1523, ch. 509. The letter urged an
         amendment to ensure that authorization certifications were not
         denied or revoked on that ground. See id. The enacted law contained
         no such amendment, but the Governor, in his signing statement,
         sought to assuage concern. He explained that the statutory text was
         permissive, i.e., it allowed adoptions by more persons than before, but
         “without compelling any agency to alter its present policies.” Gov. Mem.,
         New York Bill Jacket, 2010 S.B. 1523, ch. 509 (emphasis added).
         Indeed, the Governor stated that the law was “a wise, just and
         compassionate measure that expands the rights of New Yorkers,
         without in any way treading on the views of any citizen or organization.”
         Id. (emphasis added). In short, the statutory text and history, viewed
         in the light most favorable to New Hope, can reasonably be construed
         to have alerted OCFS that what the legislature and executive intended
         in amending § 110 was to expand the class of potential adoptive
         parents to include unmarried and same-sex couples, but with




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         reasonable accommodation for religious adoption agencies whose
         faiths compelled narrower views. 18

                Section 421.3(d) is not consistent with this intent. Its language
         is not permissive, but mandatory. It unqualifiedly prohibits any
         “discrimination and harassment” against adoption applicants based
         on “race, creed, color, national origin, age, sex, sexual orientation,
         gender identity or expression, marital status, religion, or disability.”
         18 NYCRR § 421.3(d) (emphases added). Of course, OCFS has wide
         discretion in promulgating regulations setting forth the “standards
         and procedures to be followed by authorized agencies in evaluating”
         adoption applicants. N.Y. Soc. Serv. Law § 372-e(2). And a generally
         applicable anti-discrimination regulation will usually be understood
         to indicate neutrality rather than religious animosity. But where, as
         here, a regulation purports to implement a statute whose text and
         history signal an intent for some accommodation of religious beliefs,
         further inquiry is warranted to determine if agency actions affording
         no such accommodation are grounded in any animosity to the
         particular religious beliefs at issue.

                Second, a suspicion of religious animosity is further raised here
         by the fact that for five years after 18 NYCRR § 421.3(d) was
         promulgated—from 2013 until 2018—OCFS voiced no objection to the
         practice New Hope appears to have adopted to avoid being seen as


         18Gubernatorial signing statements are routinely relied on in construing the reach
         of New York statutes. See, e.g., People v. Cagle, 7 N.Y.3d 647, 651 (2006); Greer v.
         Wing, 95 N.Y.2d 676, 680–81 (2001).




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         “discriminat[ing]” against unmarried or same-sex couples wishing to
         adopt, i.e., New Hope recused itself from considering such couples’
         adoption applications and referred them to other agencies whose
         consideration would not be limited by New Hope’s particular
         religious beliefs about family and marriage.

               To be sure, New Hope’s recusal policy meant that unmarried
         and same-sex couples could not obtain adoption services from New
         Hope. We need not here consider what discrimination concerns this
         might raise if New Hope qualified as a public accommodation under
         New York law, see N.Y. Exec. Law §§ 292(9), 296, because OCFS does
         not attempt formally to denominate it as such. This is not surprising.
         New Hope’s adoption services are not easily analogized to traditional
         public accommodations such as barbershops that provide haircuts,
         accounting firms that offer tax advice, or bakeshops that make
         wedding cakes. And children awaiting adoption hardly equate to a
         commodity, even if their “supply” in New York (unfortunately)
         greatly exceeds “demand.” Moreover, it appears that an authorized
         agency offers adoption services not only for the benefit of a public
         clientele (prospective parents) but, also, so that the agency itself can
         render a judgment: whether it is in the best interests of a child to be
         adopted by a particular applicant or applicants. Recusal is a familiar
         and accepted way for decisionmakers to step aside when they
         recognize that personal interest, predispositions, or even religious
         beliefs might unduly influence (or appear to influence) their ability to
         render impartial judgment. Thus, when an agency such as New Hope
         knows that, although New York law allows adoption by unmarried




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         and same-sex couples, its religious beliefs will not permit it to
         conclude that adoption by such a couple is in a child’s best interests,
         recusal and referral might be understood as a means to avoid its
         religious views adversely informing its assessment of a couple’s
         particular adoption application. 19 The pleadings suggest that New
         Hope’s recusal still leaves scores of other authorized agencies
         available to consider the referred adoption applications. And New
         Hope’s recusal would not seem to diminish the number of children
         available for adoption. 20

                This is not to suggest that no legal concerns can arise when a
         decisionmaker uses recusal to avoid rendering judgments for
         members of a protected class. We here conclude simply that, in the
         circumstances described, OCFS’s abrupt—and as yet unexplained—
         2018 change of mind on the matter of whether New Hope’s recusal-
         and-referral practice adequately avoided violating 18 NYCRR

         19See generally Ward v. Polite, 667 F.3d 727, 735 (6th Cir. 2012) (reinstating Free
         Exercise and Free Speech claims of graduate student dismissed from counseling
         program because, based on her religious views on homosexuality, she had sought
         to refer certain gay and lesbian clients to other counselors, observing, “[t]he point
         of the referral request was to avoid imposing her values on gay and lesbian clients”
         (emphasis in original)).
         20In its letter brief opposing New Hope’s motion to expand this court’s injunction
         pending appeal, OCFS asserts that “each time New Hope accepts a new placement
         request, there are fewer adoption opportunities available elsewhere,” particularly
         for newborns—the focus of New Hope’s ministry—for whom there is “especially
         high demand.” Appellee Ltr. Br., ECF Doc. No. 199, at 7. OCFS offers no evidence
         to support this conclusion but will have the opportunity to do so on remand
         during discovery.




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         § 421.3(d), coupled with its insistence that New Hope agree to
         approve unmarried and same-sex couples as adoptive parents or shut
         down a 50-year adoption ministry, raise a sufficient suspicion of
         hostility toward New Hope’s particular religious beliefs to warrant
         further inquiry. See Lukumi v. Hialeah, 508 U.S. at 538 (stating that
         where law “proscribe[s] more religious conduct than is necessary to
         achieve [its] stated ends[,] [i]t is not unreasonable to infer” that such
         a law “seeks not to effectuate the stated governmental interests, but
         to suppress the conduct because of its religious motivation”). 21

                 Third, even before discovery, New Hope points to some
         statements by OCFS personnel that are similar to statements in
         Masterpiece Cakeshop that the Supreme Court interpreted as arguably
         evincing religious hostility. Notably, New Hope asserts that when it
         invoked religious freedom to protest OCFS’s directive that it either
         agree to approve unmarried and same-sex adoption applicants or
         close its adoption services, OCFS responded that “[s]ome Christian
         ministries have decided to compromise and stay open.” Compl. ¶ 192
         (brackets in original). See Masterpiece Cakeshop v. Colo. Civil Rights
         Comm’n, 138 S. Ct. at 1729 (quoting statement by Colorado Civil

         21Recusal and referral might also be understood to avoid another constitutional
         concern—compelled speech—that could arise from OCFS using 18 NYCRR
         § 421.3(d) to compel New Hope to render adoption judgments contrary to its
         religious beliefs as a condition for its continued authorization to pursue an
         adoption ministry. See, e.g., Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570
         U.S. 205, 213 (2013) (reiterating “basic First Amendment principle that freedom of
         speech prohibits the government from telling people what they must say”
         (internal quotation marks omitted)). We pursue this point further infra at 53–55,
         65–70, in discussing New Hope’s Free Speech claim.




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         Rights Commissioners that businessman who “wants to do business
         in the state and he’s got an issue with the—the law’s impacting his
         personal belief system, he needs to look at being able to compromise”
         (emphasis added) (internal quotation marks omitted)). Further, when
         OCFS was asked by a reporter to comment on the closure of a long-
         established Christian adoption agency in Buffalo, its spokeswoman
         stated that “[t]here is no place for providers that choose not to follow
         the law.” Compl. ¶ 204; see Masterpiece Cakeshop v. Colo. Civil Rights
         Comm’n, 138 S. Ct. at 1729 (quoting Commissioners that plaintiff “can
         believe ‘what he wants to believe’ but cannot act on his religious
         beliefs ‘if he decides to do business in the state’”). As in Masterpiece
         Cakeshop, these statements are subject to various interpretations, some
         benign. 22 But on a motion to dismiss, we must draw the inference
         most favorable to New Hope, i.e., that OCFS did not think New
         Hope’s     religious    beliefs   about     family    and    marriage      could
         “legitimately be carried into the public sphere.” Masterpiece Cakeshop
         v. Colo. Civil Rights Comm’n, 138 S. Ct. at 1729. Indeed, for OCFS, it
         was not enough that New Hope used recusal and referral to avoid
         denying adoption approval to unmarried and same-sex couples based
         on its own religious beliefs. Rather, for New Hope to continue its


         22In Masterpiece Cakeshop, the Supreme Court acknowledged that the statements
         from that case quoted here—not the most egregious at issue, see id. at 1729— might
         mean “simply that a business cannot refuse to provide services based on sexual
         orientation.” Id. But it observed that the statements could also be understood to
         endorse the impermissible view “that religious beliefs cannot legitimately be
         carried into the public sphere or commercial domain, implying that religious
         beliefs and persons are less than fully welcome in Colorado’s business
         community.” Id.




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         adoption    ministry   in   New     York,   OCFS     insisted   that   it
         “compromise”—i.e., abandon—its own religious views about family
         and marriage and subscribe to the state’s orthodoxy on such matters.
         See generally West Va. Bd. of Educ. v. Barnette, 319 U.S. at 642.
         Construed in this light, the allegations cannot be dismissed for failing
         to state a plausible Free Exercise claim.

               Fourth, another matter bearing on religious hostility and
         making dismissal premature is the severity of OCFS’s actions in
         ordering New Hope’s closure. It is plainly a serious step to order an
         authorized adoption agency such as New Hope—operating without
         complaint for 50 years, taking no government funding, successfully
         placing approximately 1,000 children, and with adoptions pending or
         being supervised—to close all its adoption operations. All the more
         serious when, as just discussed, the agency has, for five years and
         without objection by OCFS, used recusal and referral to avoid
         rejecting applicants on the basis of its religious beliefs. A court
         properly starts by asking what authority OCFS had to order such a
         shut down, and what procedures attend such a decision. There may
         be clear answers for these questions, but they are not apparent on the
         present record.

               New York Soc. Serv. Law § 371(10)(a) authorizes OCFS to
         “visit[], inspect[] and supervise[]” adoption agencies. Thus, OCFS
         was well within its authority in visiting and inspecting New Hope in
         2018. But § 371(10)(a) makes no mention of closing adoption agencies
         or invalidating the certificates of incorporation authorizing them to
         provide adoption services. C.f. N.Y. Bus. Corp. Law § 109(a)(1), (2)




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         (empowering Attorney General to maintain action to dissolve
         corporation). And while N.Y. Soc. Serv. Law § 385 does authorize
         OCFS to issue an order prohibiting an authorized agency from
         “thereafter placing out or boarding out any child,” that authority is
         limited to four circumstances: where OCFS determines that a child
         was placed (1) for “gain,” (2) “without due inquiry as to the character
         and reputation of the person with whom such child is placed,” (3) “in
         such manner that such child is subjected to cruel or improper
         treatment or neglect or immoral surroundings,” or (4) “in such
         manner that the religious faith of the child is not preserved and
         protected” as provided by law. N.Y. Soc. Serv. Law § 385(1). None
         of these circumstances obtains here. To the contrary, in October 2018,
         OCFS commended New Hope for its “supportive and detailed
         adoptive family selection process.” J. App’x at 84.

               In response to an inquiry from this court as to the source of its
         authority to order New Hope’s closure, OCFS cites N.Y. Soc. Serv.
         Law § 34(3)(e), which authorizes the agency to “enforce,” inter alia,
         laws and regulations pertaining to adoption. But nothing in that
         section, or any other authority cited by OCFS, indicates the scope of
         the enforcement authority conferred by § 34(3)(e), specifically,
         whether OCFS’s enforcement authority is akin to that of police and
         prosecutors, who investigate and charge violators, or whether it also
         extends to judicial-like authority to prescribe the punishment for
         violations, specifically, the punishment of closure.

               We do not here decide whether OCFS’s closure authority
         reaches further than that expressly afforded by N.Y. Soc. Serv. Law




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         § 385(1). We conclude only that until the source of any broader
         authority is identified and considered in light of the circumstances of
         this case, the severity of OCFS’s comply-or-close decision adds some
         weight to New Hope’s claim of hostility toward its religious beliefs.

               Fifth, New Hope asserts that OCFS’s 2018 actions in enforcing
         18 NYCRR § 421.3(d) has forced the closure of several other adoption
         agencies sharing its religious beliefs about family and marriage. This
         warrants further inquiry because “the effect of a law in its real
         operation” can be “strong evidence of its object.” Lukumi v. Hialeah,
         508 U.S. at 535. If we assume, as we must on dismissal, that the effect
         of OCFS’s comply-or-close method for enforcing § 421.3(d) fell almost
         exclusively on adoption services holding particular religious beliefs,
         that is some reason to suspect that the object of the law was to target
         those beliefs and to exclude those who maintain them from the
         adoption process. This suspicion is reinforced by circumstances,
         already discussed, indicating OCFS’s awareness (at the pleadings
         stage) (1) that neither the state legislature nor executive intended for
         adoption agencies to have to compromise religious beliefs in order to
         continue operating in the state, and (2) that recusal and referral were
         available means for agencies to avoid having their religious beliefs
         adversely affect the adoption applications of unmarried and same-sex
         couples.

               In sum, the pleadings, if accepted as true and viewed in the
         light most favorable to New Hope, do not permit a court to conclude
         as a matter of law that 18 NYCRR § 421.3(d), as promulgated and
         enforced by OCFS, was neutral and not based on some hostility to




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         New Hope’s religious beliefs. Thus, dismissal of New Hope’s Free
         Exercise claim was premature. The matter warrants discovery.

                      3.     Free Speech Claim

               New Hope claims that OCFS also violated its constitutional
         right to Free Speech in two ways:          (a) by compelling it to say
         something it does not believe, i.e., that adoption by unmarried or
         same-sex couples can be in the best interests of a child; and (b) by
         requiring it to associate with such couples, thereby impeding New
         Hope’s ability to promote its own beliefs and values about religion,
         marriage, and family.

               The district court dismissed the compelled speech part of this
         claim on two grounds: (1) any speech at issue is “government[]
         speech,” for which New Hope cannot claim First Amendment
         protection; and (2) New Hope failed plausibly to plead that its speech
         was being compelled in any way. These two conclusions, in turn,
         informed the district court’s decision to dismiss New Hope’s
         expressive association claim because it could not plausibly plead
         more than “slight” injury to its expressive activities. See New Hope
         Family Servs., Inc. v. Poole, 387 F. Supp. 3d at 217, 219.

               For the reasons explained herein, the pleadings, viewed most
         favorably to New Hope, do not permit a court to reach these
         conclusions now as a matter of law.




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                              a.     Compelled Speech

                “At the heart of the First Amendment” is the principle “that
         each person should decide for himself or herself the ideas and beliefs
         deserving of expression, consideration, and adherence.” Agency for
         Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. at 213 (quoting Turner
         Broad. Sys., Inc. v. FCC, 512 U.S. 622, 641 (1994)). Consistent with this
         principle, freedom of speech means that the “government may not
         prohibit the expression of an idea,” even one that society finds
         “offensive or disagreeable.” Texas v. Johnson, 491 U.S. 397, 414 (1989);
         see generally Barr v. Am. Ass’n of Political Consultants, Inc., No. 19-631,
         2020 WL 3633780, at *12 (U.S. July 6, 2020) (plurality opinion)
         (describing First Amendment as “a kind of Equal Protection Clause
         for ideas” (internal quotation marks omitted)). For much the same
         reason, government also cannot tell people that there are things “they
         must say.” Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S.
         at 213 (quoting Rumsfeld v. Forum for Acad. and Institutional Rights, Inc.
         (“FAIR”), 547 U.S. 47, 61 (2006)); accord Janus v. Am. Fed’n of State, Cty.
         & Mun. Emps., Council 31, 138 S. Ct. 2448, 2463 (2018) (stating that First
         Amendment prevents government from “[c]ompelling individuals to
         mouth support for views they find objectionable”).              Thus, when
         government “direct[ly] regulat[es] . . . speech” by mandating that
         persons explicitly agree with government policy on a particular




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         matter, it “plainly violate[s] the First Amendment.” Agency v. Int’l
         Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. at 213. 23

                The pleadings here, viewed most favorably to New Hope,
         plausibly charge OCFS with an impermissible direct regulation of
         speech.    As discussed supra at 21–25, all New Hope’s adoption
         services—from       counseling     birthmothers,      to       instructing   and
         evaluating prospective adoptive parents, to filing its ultimate reports
         with the court—are laden with speech. But, more to the point, these
         services are provided so that, at their end, New Hope itself can speak
         on the determinative question for any adoption: whether it would be
         in the best interests of a child to be adopted by particular applicants.
         New Hope asserts that, based on its religious beliefs about marriage
         and family, it does not believe and, therefore, cannot state, that
         adoption by unmarried or same-sex couples would ever be in the best
         interests of a child. It charges OCFS with requiring it to say just that—
         or to close down its voluntary, privately funded adoption ministry.
         See Compl. ¶ 271 (alleging that OCFS “requires New Hope to engage
         in speech and expression that it does not wish to convey—speech and
         expression that violate[] its core religious beliefs—by compelling it to




         23At issue in Agency for International Development was a challenged mandate that
         federal funding recipients “explicitly agree with the Government’s policy to
         oppose prostitution and sex trafficking.” 570 U.S. at 213. The Supreme Court
         observed that if that requirement had been “enacted as a direct regulation of
         speech,” it “would plainly violate the First Amendment.” Id. The Court then
         proceeded to explain why the requirement violated the First Amendment even as
         a funding condition. See id. at 213–18.




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         recommend same-sex couples or unmarried couples as adoptive
         parents”). These pleadings are sufficient to withstand dismissal.

               Moreover, neither reason cited by the district court supports a
         contrary conclusion at this stage of the case.

                                 i.     Government Speech

                 The district court concluded that because New Hope is a state-
         authorized adoption agency, any speech involved in its provision of
         adoption services is “government[] speech” for which New Hope
         cannot claim First Amendment protection. New Hope Family Servs.,
         Inc. v. Poole, 387 F. Supp. 3d at 217 (“New Hope’s speech, to the extent
         any is required when performing its services as an authorized
         [adoption] agency, constitutes governmental speech. . . .”); see, e.g.,
         Matal v. Tam, 137 S. Ct. 1744, 1757 (2017) (collecting cases recognizing
         that Government’s own speech is exempt from First Amendment
         scrutiny). The Supreme Court, however, has held that the mere fact
         that government authorizes, approves, or licenses certain conduct
         does not transform the speech engaged therein into government
         speech. The reason is plain: “If private speech could be passed off as
         government speech by simply affixing a government seal of approval,
         government could silence or muffle the expression of disfavored
         viewpoints.” Matal v. Tam, 137 S. Ct. at 1758 (holding that federal
         registration of trademark does not make the mark government
         speech); see also National Inst. of Family and Life Advocates v. Becerra, 138
         S. Ct. 2361, 2375 (2018) (rejecting idea that government acquires
         “unfettered power to reduce a group’s First Amendment rights by




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         simply imposing a licensing requirement”); 24 44 Liquormart, Inc. v.
         Rhode Island, 517 U.S. 484, 513 (1996) (plurality opinion) (holding
         advertising limits on liquor retailers violated First Amendment,
         explaining that state decision to license its liquor retailers did not
         permit it to condition license on “surrender of a constitutional right”).

                   The district court relied primarily on two cases to support its
         identification of “government[] speech” here. Both are inapt because
         the       speech-challenged         conditions      were   there   imposed    on
         government-funded services. See Legal Servs. Corp. v. Velazquez, 531
         U.S. 533 (2001) (challenging federal funding condition prohibiting
         legal services corporations from using funds to “challenge existing
         welfare law”); Fulton v. City of Philadelphia, 320 F. Supp. 3d 661
         (challenging non-discrimination provision of contract with City to
         provide foster care services). 25            In Velazquez, the Supreme Court
         observed that “[w]hen the government disburses public funds to private
         entities to convey a governmental message, it may take legitimate and
         appropriate steps to ensure that its message is neither garbled nor
         distorted by the grantee.” 531 U.S. at 541 (brackets in original)
         (emphasis added) (internal quotation marks omitted); see also Agency
         for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. at 214 (collecting
         cases recognizing that, under Spending Clause, Congress can impose


         24In Becerra, the Supreme Court ruled, inter alia, that requiring a licensed
         pregnancy center to provide women with notice of certain state services, including
         abortion, violated the First Amendment by altering the content of the clinic’s
         speech. 138 S. Ct. at 2371–76.
         25   See supra at 37, 41–42 (discussing Fulton history).




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         some conditions on federal funding that it could not impose directly
         without violating First Amendment). The district court in Fulton
         relied on Velazquez’s quoted language in holding that Philadelphia
         permissibly included a non-discrimination condition in its contract
         with CSS funding a part of the organization’s foster care services. See
         Fulton v. City of Philadelphia, 320 F. Supp. 3d at 696–97. The reasoning
         of these cases does not apply here because New Hope receives no
         government funding, either by way of a grant program or a contract.
         Indeed, New Hope alleges that it avoids government funding
         precisely to “ensure its autonomy to operate in accordance with its
         religious beliefs.” Compl. ¶ 51. Thus, “subsidized speech” cases
         cannot support the identification of “government speech” here. See
         Matal v. Tam, 137 S. Ct. at 1760–61 (Alito, J., plurality opinion). 26



         26In Matal v. Tam, a Supreme Court plurality treated the questions of “government
         speech” and “subsidized speech” as distinct, noting that subsidized speech can
         “implicate a notoriously tricky question of constitutional law” because, at the same
         time that the law recognizes that “government is not required to subsidize
         activities that it does not wish to promote,” it also prohibits government from
         “deny[ing] a benefit to a person on a basis that infringes his constitutionally
         protected . . . freedom of speech even if he has no entitlement to that benefit.” 137
         S. Ct. at 1760–61 (internal quotation marks omitted). Applying these principles in
         Agency for International Development and Velazquez, the Supreme Court ruled that
         the latter was determinative and that the challenged speech conditions there
         violated the First Amendment even as applied to funding recipients. See Agency
         for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. at 214–15, 217–18 (holding
         unconstitutional funding condition requiring recipients to affirm opposition to
         prostitution because it compelled grant recipient “to adopt a particular belief as a
         condition of funding”); Legal Servs. Corp. v. Velazquez, 531 U.S. at 540–41, 548–49
         (holding challenged funding condition on legal services unconstitutional because
         it “exclude[d] certain vital theories and ideas”). In Matal v. Tam, the plurality




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                Insofar as a particular viewpoint might be identified as
         “government speech” without regard to government funding, the
         Matal Court urged “great caution” in extending the doctrine beyond
         its established precedents. Id. at 1758. As Justice Alito explained, the
         government-speech doctrine is both “essential” and “dangerous”:
         essential to avoid “paralyzing” government, id. at 1757 (observing
         that when “government entity embarks on a course of action, it
         necessarily takes a particular viewpoint and rejects others”), but
         dangerous because, as we have already noted, “[i]f private speech
         could be passed off as government speech by simply affixing a
         government seal of approval, government could silence or muffle the
         expression of disfavored viewpoints,” id. at 1758. 27

                In Matal v. Tam, 137 S. Ct. at 1759–60, the Court identified three
         circumstances       where      Supreme        Court     precedents       identified
         government speech:          a federally created advertising program to


         explained that there was no need to weigh the identified competing principles in
         that case because trademarks involved no government subsidy or expenditure
         beyond that associated with any government service. See 137 S. Ct. at 1761. The
         same conclusion obtains with respect to New Hope’s privately funded, authorized
         adoption services.
         27Members of the Court had also expressed reservations about the government-
         speech doctrine in Pleasant Grove City v. Summum, 555 U.S. 460 (2009), discussed
         infra at 60–62, 64. See Pleasant Grove City v. Summum, 555 U.S. at 481 (Stevens, J.,
         joined by Ginsburg, J., concurring) (stating that “decisions relying on the recently
         minted government speech doctrine to uphold government action have been few,
         and, in my view, of doubtful merit”); id. at 484 (Breyer, J., concurring) (expressing
         understanding that doctrine is “a rule of thumb, not a rigid category”); id. at 485
         (Souter, J., concurring in judgment) (urging Court to “go slow in setting” bounds
         of government-speech doctrine).




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         promote the sale of beef, see Johanns v. Livestock Mktg. Ass’n, 544 U.S.
         550 (2005); a local government’s acceptance of a Ten Commandments
         monument for display in a city park, see Pleasant Grove City v.
         Summum, 555 U.S. 460; and a state’s allowance of specialty license
         plates, see Walker v. Texas Div., Sons of Confederate Veterans, Inc., 576
         U.S. 200 (2015).

               In the first circumstance, the Court held that the ads were
         government speech because “[t]he message set out in the beef
         promotions [was] from beginning to end the message established by
         the Federal Government.” Matal v. Tam, 137 S. Ct. at 1759 (brackets in
         original) (quoting Johanns v. Livestock Mktg. Ass’n, 544 U.S. at 560, and
         noting that Congress and Secretary of Agriculture provided
         guidelines for content of ads, Agriculture officials attended meetings
         at which content of ads was discussed, and Secretary could edit or
         reject any proposed ad).

               In the monuments case, “many factors” indicated that park
         monuments represented government speech, among them, (a)
         government’s historic use of monuments to speak to the public, (b) a
         tradition of parks selectively accepting and displaying donated
         monuments, (c) the public’s close identification of public parks with
         the government owning the parkland, and (d) the accepted
         monuments were meant to and had the effect of conveying a
         government message. Id. at 1759–60 (citing Pleasant Grove City v.
         Summum, 555 U.S. at 472).




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                   Finally, in the specialty plates case—described by Matal as
         “likely mark[ing] the outer bounds of the government-speech
         doctrine”—three factors were determinative: (a) States had long used
         license plates to convey government messages; (b) the public closely
         identified license plates with the State because it manufactured and
         owned the plates, generally designed them, and used them as a form
         of government identification; and (c) Texas maintained direct control
         over the messages conveyed on specialty plates. Id. at 1760 (citing
         Walker v. Texas Div., Sons of Confederate Veterans, Inc., 576 U.S. at 207–
         13). 28

                   The factors highlighted in these cases are either not present
         here, or not sufficiently present at the pleading stage to warrant
         reliance on government speech as a ground for dismissal.

                   First, by contrast to the monuments discussed in Pleasant Grove
         and the license plates at issue in Walker, adoption has not historically
         been treated by government as a means for it to communicate with
         the public on various matters. Rather, adoption’s singular focus is on
         identifying a placement that is in the best interests of a child.

                   Second, by contrast to any of the three precedents cited in Matal,
         nothing in the pleadings suggests that the public understands New
         Hope’s expressive activities, either in generally providing adoption


         28This court has relied on these three Walker factors in considering government-
         speech claims. See, e.g., Wandering Dago, Inc. v. Destito, 879 F.3d 20, 34–36 (2d Cir.
         2018) (considering factors in determining that names of food vendors at state-
         organized lunch program were not government speech).




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         services or, ultimately, in recommending a child’s placement, to be
         the State’s own message.         The general principle that State
         authorization by itself does not transform the authorized actor’s
         speech into government speech, see Matal v. Tam, 137 S. Ct. at 1758,
         applies with particular force here, where New York itself operates 58
         state-denominated adoption agencies at the same time that it
         authorizes some 70 private, non-profit organizations also to offer
         adoption services.    Many of those organizations, including New
         Hope, have done so for decades and have long established private
         identities.

                The pleadings further indicate that, from its first meeting with
         prospective adoptive parents, New Hope makes its private identity
         clear, specifically, its identity as a religious ministry.    It starts
         meetings with a prayer and uses scripture passages and religious
         texts to explore “how faith in God can help [adoption] applicants.”
         Compl. ¶¶ 105, 109, 111–112. A person listening to such explicitly
         religious messages from a private entity operating from a non-state
         location would not be likely to understand the messages conveyed as
         those of the State of New York, rather than New Hope’s own. Cf.
         Pleasant Grove City v. Summum, 555 U.S. at 472 (holding government’s
         acceptance of monument for public parkland, where government had
         used monuments to convey its messages to public, identified
         monument as “government speech”); Johanns v. Livestock Mktg. Ass’n,
         544 U.S. at 560 (stating that message set out in challenged promotion
         was “from beginning to end the message established by the Federal
         Government”). Indeed, OCFS itself does not seem to think there is




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         much risk of misattribution because it nowhere suggests that there is
         anything improper in New Hope conveying religious messages or
         employing religious rituals in providing adoption services, which
         presumably New Hope could not do if it were speaking for the State.

                Viewed most favorably to New Hope, then, the pleadings
         suggest that OCFS is not seeking to avoid having New Hope’s views
         attributed to the State but, rather, is demanding that New Hope—in
         order to continue operating as an authorized adoption agency—
         express a State view with which it disagrees, i.e., that it can be in the
         best interests of a child to be adopted by an unmarried or same-sex
         couple.    In Walker, the Supreme Court stated that “the First
         Amendment stringently limits a State’s authority to compel a private
         party to express a view with which the private party disagrees.”
         Walker v. Texas Div., Sons of Confederate Veterans, Inc., 576 U.S. at 219.
         Indeed, this limitation may apply even when the government is
         looking to communicate its own message through a private entity. See
         id. at 208 (stating that “Free Speech Clause itself may constrain the
         government’s speech if . . . the government seeks to compel private
         persons to convey the government’s speech”).

               Third, although the adoption process in New York is certainly
         more regulated than the trademark process at issue in Matal v. Tam,
         137 S. Ct. at 1758–59, a court cannot conclude at the pleadings stage
         that “from beginning to end” the messages conveyed by New Hope
         are so controlled by New York as to be the State’s own, Johanns v.
         Livestock Mktg. Ass’n, 544 U.S. at 560. As discussed supra at 11–16, the
         laws and regulations identifying factors relevant to determining the




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         best interests of a child awaiting adoption appear to afford authorized
         agencies considerable discretion in weighing those factors and in
         exercising independent judgment as to the propriety of any particular
         placement.    By contrast to the extensive involvement of federal
         officials in the promotional campaign at issue in Johanns, it seems no
         New York officials engage directly with private authorized agencies
         as they recruit, instruct, evaluate, and ultimately recommend
         adoptive parents to a child’s birth parents and to the court. Nothing
         in the pleadings indicates that OCFS officials ever review, edit, or
         reject a private authorized agency’s best-interests assessment before
         a child’s placement in an adoptive family. Cf. Walker v. Texas Div.,
         Sons of Confederate Veterans, Inc., 576 U.S. at 213 (highlighting State’s
         maintenance of direct control over messages conveyed on specialty
         plates); Pleasant Grove City v. Summum, 555 U.S. at 471–72 (referencing
         tradition of parks selectively accepting and displaying donated
         monuments); Johanns v. Livestock Mktg. Ass’n, 544 U.S. at 561 (stating
         that government could edit, or even reject, proposed advertisement).

               In sum, on the pleadings record, none of the three factors that
         courts rely on in identifying “government speech” weighs in favor of
         identifying any speech by New Hope as such. Nor do they compel
         that conclusion as a matter of law when considered together. Further
         proceedings may produce additional evidence that casts these
         pleadings in a different light. We here hold only that New Hope’s
         First Amendment compelled speech claim cannot be dismissed now
         on the ground that any speech at issue is government speech.




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                                 ii.   No Compelled Speech

               Alternatively, the district court dismissed New Hope’s free
         speech claim because OCFS and 18 NYCRR § 421.3(d) “simply do not
         compel speech” or even compel New Hope “to change the message it
         wishes to convey.” New Hope Family Servs. v. Poole, 387 F. Supp. 3d at
         217–18.   The court acknowledged New Hope’s assertion that it
         provides “extensive” information to potential adoptive parents and
         birthparents consistent with its religious views on marriage and the
         family.   Id. at 218.    Nevertheless, it concluded that “nothing is
         preventing New Hope from continuing to share its religious beliefs
         throughout the entire process.” Id. Indeed, the court expressed “no
         doubt that New Hope’s general disapproval of cohabitating
         unmarried couples and same sex couples will continue to be made
         clear.” Id. Similarly, while acknowledging New Hope’s complaint
         that forcing it to approve and recommend unmarried and same-sex
         couples as adoptive parents would “send a message . . . that [New
         Hope] accepts such relationships as appropriate and believes that
         adoption by such couples can be in the best interests of the child,” id.
         at 217 (brackets in original) (internal quotation marks omitted), the
         district court concluded that, in fact, “the only message that would be
         conveyed” by New Hope’s approving an unmarried or same-sex
         couple for adoption “is that, applying the [relevant] regulatory
         criteria . . . , placement with such a couple would be in the child’s best
         interest,” id.; see also id. at 218 (“[T]he only statement being made by
         approving such couples as adoptive parents is that they satisfy the




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         criteria set forth by the state, without regard to any views as to the
         marital status or sexual orientation of the couple.”).

                Both conclusions are premature. It is hardly evident from the
         pleadings that OCFS, in requiring New Hope to conform its policies
         to 18 NYCRR § 421.3(d), would permit New Hope to counsel
         unmarried and same-sex couples that it is in the best interests of a
         child to be adopted by a heterosexual married couple and not in the
         best interests of a child to be adopted by an unmarried or same-sex
         couple. The regulation, after all, prohibits harassment as well as
         discrimination and, as the district court itself recognized in a colloquy
         exchange, if New Hope were to express such views, it would likely
         face a lawsuit “the next day.” J. App’x at 237.

                In its brief to this court, OCFS no longer disclaims the
         possibility of it restricting New Hope’s speech in providing adoption
         services. Rather, OCFS acknowledges that “any restriction on New
         Hope’s expressive activities within the contours of its provision of
         adoption activities remains unclear.” Appellee Br. at 54. 29 While
         OCFS maintains that “New Hope remains free to espouse its beliefs
         about marriage and family,” and to “advocat[e] for adoptions by
         married heterosexual couples, outside the contours of its provision of
         . . . adoption services,” id. (emphasis added), that concession is
         meaningless. New Hope does not claim that OCFS would compel or


         29This represents a departure from OCFS’s position before the district court. It
         there asserted that 18 NYCRR § 421.3(d) “neither compels, nor prohibits, New
         Hope from . . . expressing its beliefs, religious or otherwise.” J. App’x at 188.




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         limit its speech if it loses authorization to provide adoption services.
         Rather, New Hope sues OCFS for violating its right to free speech as
         an authorized adoption agency.          The pleadings record admits a
         plausible inference that New Hope cannot both comply with 18
         NYCRR § 421.3(d), as required to retain its authorization to provide
         adoption services, and express its view that adoption by unmarried
         and same-sex couples is not in the best interests of a child. Thus,
         discovery is warranted to determine the extent to which the required
         compliance will restrict or compel New Hope’s speech.

               Nor is a different conclusion warranted by OCFS’s assertion
         that “all” it has done to date is “regulate New Hope’s conduct—its
         refusal to provide adoption services to or place children with
         unmarried and same-sex couples.” Id. at 51. As the Supreme Court
         has long recognized, even conduct can claim the protections of Free
         Speech where “[a]n intent to convey a particularized message [is]
         present, and . . . the likelihood [is] great that the message would be
         understood by those who viewed” or learned of the conduct. Texas v.
         Johnson, 491 U.S. at 404 (first brackets in original) (internal quotation
         marks omitted); see Church of Am. Knights of the Ku Klux Klan v. Kerik,
         356 F.3d 197, 205 (2d Cir. 2004) (same). In any event, the pleadings
         here, viewed most favorably to New Hope, demonstrate more than
         conduct. New Hope asserts that, consistent with New York law, it
         can only place a child with an adoptive couple if it approves the
         placement as in the best interests of the child.        See 18 NYCRR
         § 421.18(d). Thus, New Hope has a plausible claim that by compelling
         it to place children with unmarried and same-sex couples, OCFS is




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         necessarily compelling New Hope to engage in the speech required
         for that conduct—speech with which New Hope does not agree.

                The district court recognized the inextricable link between New
         Hope’s speech and conduct in the placement of a child for adoption.
         Nevertheless, the court dismissed New Hope’s free speech claim
         upon concluding that the only message that its approval would
         convey is that an unmarried or same-sex couple satisfies the State
         regulations’ criteria for an adoptive placement. See New Hope Family
         Services v. Poole, 387 F. Supp. 3d at 217. This implies that approval
         communicates no judgment by New Hope itself.                      Again, this
         conclusion cannot be reached at the pleadings stage.

                As we have already observed, the regulatory criteria applicable
         to adoption provide agencies with no mere quantitative checklist. 30
         Rather, the regulations, by their nature, entrust authorized agencies
         with considerable discretion to exercise judgment in determining the
         best interests of a child.      See supra at 11–16 (discussing various
         regulations). OCFS acknowledges as much in stating that “[t]he
         statutory [and regulatory] scheme bestows significant authority on
         authorized agencies.” Appellee Br. at 4. Nowhere do the regulations
         define “best interests.” They state only that the determination should
         consider, (1) “the appropriateness of placement in terms of the age of
         the child and of the adoptive parent(s)”; (2) “the physical and
         emotional needs of the child in relation to the characteristics,


         30We have no occasion here to consider whether other regulations, including
         quantitative factors, might implicate compelled speech in certain circumstances.




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         capacities, strengths and weaknesses of the adoptive parent(s)”; and
         (3) “the requirement . . . to place minor siblings or half-siblings
         together . . . unless . . . such placement [is determined] to be
         detrimental to the best interests of one or more of the children.” Id.
         § 421.18(d). These factors admit no single answer, but require the
         exercise of agency judgment. Moreover, the regulation states that a
         best-interests determination is “not limited to” these factors, id.,
         which further cautions against a narrow characterization of the
         message conveyed by such a determination.

               Related regulations are similarly broadly cast. For example, in
         the home study that adoption agencies must conduct before deciding
         whether it is in the particular interest of a child to be placed with an
         applicant, the agency must “explore each applicant’s ability to be an
         adoptive parent,” discussing a range of topics including “principles
         related to the development of children,” “reasons a person seeks to
         become an adoptive parent,” the applicant’s “understanding of the
         adoptive parent role,” the applicant’s “psychological readiness to
         assume responsibility for a child,” and the agency’s role in
         “supervising and supporting the adoptive placement.”                 Id.
         § 421.15(d). Agencies must also “explore” an applicant’s “capacity to
         give and receive affection,” and “ability to provide for a child’s
         physical and emotional needs.” Id. § 421.16(a). The regulations do
         not instruct authorized agencies as to how they should evaluate or
         weigh these factors. Rather, these matters are left to the exercise of
         agency judgment and discretion, which will necessarily be informed,




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         to at least some degree, by the agency’s conception of a child’s best
         interests.

               In New Hope’s case, that conception has, as its starting point,
         the “biblical model for the family” as “one man married to one
         woman for life.” Compl. ¶ 56. Given the discretion inherent in New
         York laws and regulations pertaining to the identification of adoption
         placements that are in the best interests of a particular child, a court
         could not conclude on the pleadings that New Hope can identify a
         child’s best interests, and, therefore, approve an adoption placement,
         without communicating its viewpoint—or the one that it complains
         OCFS is compelling it to adopt. Thus, it was premature for the district
         court to conclude that requiring New Hope to provide adoption
         services to unmarried and same-sex couples compelled no speech
         subject to First Amendment protection.

                            b.     Expressive Association

               As a second part of its Free Speech claim, New Hope charges
         OCFS with impeding its right of association.

               “Association” occupies a clearer place in American history than
         in American law.     As to the former, what Tocqueville famously
         observed in 1835 has remained true for almost two centuries: “In no
         country in the world has the principle of association been more
         successfully used or applied to a greater multitude of objects than in
         America.” 1 ALEXIS DE TOCQUEVILLE, DEMOCRACY IN AMERICA 191
         (Phillips Bradley ed., Vintage Books 1990) (1835). As pertinent here,
         one of the “objects” for which Americans have laudably associated




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         throughout their history has been to care for orphaned and
         abandoned children. See supra at 8 n.3.

               The law, however, recognizes no fundamental “right of
         association.” The First Amendment does not, by its terms, pronounce
         such a right. See City of Dallas v. Stanglin, 490 U.S. 19, 23–24 (1989).
         Nevertheless, the Supreme Court has applied the First Amendment
         to association claims in two limited circumstances: “choices to enter
         into and maintain certain intimate human relationships,” and
         “associat[ion] for the purpose of engaging in those activities protected
         by the First Amendment—speech, assembly, petition for the redress
         of grievances, and the exercise of religion.” Roberts v. U.S. Jaycees, 468
         U.S. 609, 617, 618 (1984); see Jacoby & Meyers, LLP v. Presiding Justices
         of the First, Second, Third & Fourth Dep’ts, Appellate Div. of the Supreme
         Court of N.Y., 852 F.3d 178, 187–88 (2d Cir. 2017). It is the latter—so-
         called “expressive association”—that New Hope invokes in this case.

               New Hope asserts that its adoption ministry is an expressive
         association in that it employs protected speech to “convey[] a system
         of values about life, marriage, family and sexuality to both
         birthparents and adoptive parents through its comprehensive
         evaluation, training, and placement programs.” Compl. ¶ 270. New
         Hope alleges that OCFS’s actions in applying 18 NYCRR § 421.3(d)
         impair New Hope’s ability to advocate for its values. Specifically,
         New Hope maintains that requiring it to “[i]nclud[e] unmarried or
         same-sex couples in [its] comprehensive evaluation, training, and
         placement programs and adoptive-parent profiles would change




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         New Hope’s message and counseling to adoptive families and
         birthparents.” Id. ¶ 273. 31

                In dismissing New Hope’s association claim, the district court
         concluded that the adoption agency could show only “slight
         impairment” to its expressive activity because New Hope was “not
         being required to hire employees that do not share [its] same religious
         values,” and was not “prohibited in any way from continuing to voice
         [its] religious ideals.” New Hope Family Servs., Inc. v. Poole, 387 F.
         Supp. 3d at 219. For the same reasons the latter conclusion cannot be
         reached at the pleading stage with respect to New Hope’s compelled
         speech claim, see supra at 65–70, it cannot be reached with respect to
         New Hope’s expressive association claim.

                As for the “slight impairment” conclusion, it too is premature.
         Compelled hiring, like compelled membership, may be a way in
         which a government mandate can “affect[] in a significant way [a]


         31OCFS argues on appeal that New Hope is not engaged in expressive association
         because it is “not open to membership and was not organized for the purpose of
         engaging in expressive activities.” Appellee Br. at 58. The membership argument
         fails for reasons stated in text infra at 72–74 with respect to compelled hiring. As
         for “purpose,” even if OCFS’s urged conclusion could be reached at the pleadings
         stage, it would not compel dismissal. The Supreme Court has required that an
         organization “engage in some form of expression”—not that it be expressly
         constituted for that purpose—to claim expressive association protection. See Boy
         Scouts of Am. v. Dale, 530 U.S. 640, 648 (2000); Pi Lambda Phi Fraternity, Inc. v. Univ.
         of Pittsburgh, 229 F.3d 435, 443 (3d Cir. 2000), as amended (Nov. 29, 2000) (stating
         that Supreme Court has not required organization to be “primarily expressive[] in
         order to receive constitutional protection for expressive associational activity”).
         The pleadings easily satisfy this standard.




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         group’s ability to advocate public or private viewpoints.” Boy Scouts
         of Am. v. Dale, 530 U.S. at 648. But it is not the only way. Cf. Rumsfeld
         v. FAIR, 547 U.S. at 69 (acknowledging that “freedom of expressive
         association protects more than just a group’s membership decisions”).

               The pleadings, viewed most favorably to New Hope, indicate
         that OCFS, in enforcing 18 NYCRR § 421.3(d), may require New Hope
         to “correct[] or disciplin[e]” employees who, sharing New Hope’s
         religious beliefs, act on, or even express, those beliefs in interacting
         with birthparents or prospective adoptive parents.          18 NYCRR
         § 421.3(d) (prohibiting discrimination and harassment and requiring
         authorized agencies to correct or discipline employees who engage in
         such). In short, New Hope complains that OCFS is not only directly
         limiting its own ability to promote its beliefs and values through its
         adoption services, but also, OCFS is requiring New Hope to use
         discipline to enforce those same expressive limitations as to its
         employees. This admits a plausible inference that OCFS is making
         association with New Hope “less attractive” for those who would
         otherwise combine their voices with the agency’s in order to convey
         their shared beliefs and values more effectively. See Rumsfeld v. FAIR,
         547 U.S. at 68–69.

               In Rumsfeld, the Supreme Court rejected an expressive
         association challenge to a federal law requiring schools to afford
         equal campus access to military recruiters. The Court observed that
         such compelled access did not affect “a law school’s associational
         rights” because “[s]tudents and faculty” remained “free to associate
         to voice their disapproval of the military’s message” and “nothing




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         about the statute affect[ed] the composition of the group by making
         group membership less desirable.” Id. at 69–70. By contrast, here, the
         pleadings admit a plausible inference that neither New Hope nor any
         employees that associate with it in its adoption ministry will be free
         to voice their religious beliefs about the sorts of marriages and
         families that they believe best serve the interests of adopted children.
         Thus, discovery is required to determine what, if any, leeway OCFS
         will grant New Hope and its like-minded employees in expressing
         their religious views before any determination can be made as to how
         significantly OCFS’s challenged actions will impede New Hope’s
         associational ability to advocate its religious viewpoints.

               Because New Hope’s expressive association claim survives
         dismissal on these grounds, we need not now conclusively decide
         whether a claim of compelled association with unmarried and same-
         sex couples pursuing adoption implicates expressive association.
         While such couples may not be seeking the sort of affiliation with
         New Hope generally associated with membership organizations, see
         Boy Scouts of Am. v. Dale, 530 U.S. 640, neither is theirs the “chance
         encounter[]” of dance-hall patrons, City of Dallas v. Stanglin, 490 U.S.
         at 25. Rather, the pleadings, viewed most favorably to New Hope,
         indicate that OCFS is requiring New Hope to associate with
         unmarried and same-sex couples for the purpose of providing
         services leading to adoption, an outcome that could tie New Hope,
         the couple, and an adopted child together for months, or even years.
         See supra at 21–25. To the extent New Hope maintains that such
         compelled association would impede its ability to convey its religious




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         beliefs about adoption in a way distinct from that resulting from the
         compelled speech of which it complains, it will have the opportunity
         to develop supporting evidence during discovery. We do not here
         predict whether New Hope will be able to do so. Cf. Telescope Media
         Grp. v. Lucero, 936 F.3d 740, 760 (8th Cir. 2019) (holding expressive
         association challenge to law prohibiting videographers from
         discriminating between heterosexual and same-sex weddings was
         “really a disguised free-speech claim” duplicative of claim on
         compelled-speech theory, and allowing only latter to proceed). We
         conclude only that the expressive association claim does not fail as a
         matter of law on the pleadings.

                  In sum, we conclude that none of New Hope’s First
         Amendment claims—for Free Exercise of Religion, for Free Speech on
         a theory of compelled speech, and for Free Speech on a theory of
         expressive association—can be dismissed at the pleadings stage.
         Accordingly, we reverse the judgment of dismissal as to these claims.

                  Preliminary Injunction

                  We review the denial of a motion for a preliminary injunction
         for abuse of discretion, which we will identify only if the decision
         rests on an error of law or a clearly erroneous finding of fact, or cannot
         be located within the range of permissible decisions. See, e.g., North
         Am. Soccer League, LLC v. U.S. Soccer Fed'n, Inc., 883 F.3d 32, 36 (2d Cir.
         2018).     The district court’s denial of New Hope’s preliminary
         injunction motion as moot rests on an error of law, specifically, the
         court’s dismissal of all New Hope’s claims. For reasons stated in the




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         preceding sections of this opinion, New Hope’s Free Exercise and
         Free Speech claims should not have been dismissed and, thus, its
         preliminary injunction motion was not moot.

               New Hope urges that in vacating the denial of its preliminary
         injunction motion, this court direct entry of the requested injunction
         on remand. We recognize our authority to do so. See, e.g., New York
         Progress & Prot. PAC v. Walsh, 733 F.3d 483, 489 (2d Cir. 2013); Hsu v.
         Roslyn Union Free Sch. Dist. No. 3, 85 F.3d 839, 873 (2d Cir. 1996)
         (“Although reversal of an order denying an application for a
         preliminary injunction is customarily accompanied by a directive that
         the district court conduct a new hearing on remand, an appellate
         court, on a finding of merit in plaintiff’s case, can in the alternative
         direct the district court to issue the injunction.” (quoting Patton v.
         Dole, 806 F.2d 24, 31 (2d Cir. 1986))). But we leave it to the district
         court in the first instance to decide if such equitable relief is warranted
         and its exact scope. Nevertheless, a few observations may be useful
         to guide the district court’s exercise of its discretion on remand.

               First, because New Hope seeks a preliminary injunction to stay
         government action taken in the public interest pursuant to a statutory
         (and regulatory) scheme, it must establish both a likelihood of success
         on the merits and irreparable harm in the absence of an injunction.
         See Alliance for Open Soc’y Int’l, Inc. v. Agency for Int’l Dev., 651 F.3d
         218, 230 (2d Cir. 2011), aff’d., 570 U.S. 205; Alleyne v. N. Y. State Educ.
         Dep’t, 516 F.3d 96, 101 (2d Cir. 2008). The “loss of First Amendment
         freedoms . . . unquestionably constitutes irreparable injury.”
         International Dairy Foods Ass’n v. Amestoy, 92 F.3d 67, 71 (1996)




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         (internal quotation marks omitted). Thus, “the dominant, if not the
         dispositive, factor” in deciding whether to grant a preliminary
         injunction in this case is New Hope’s ability to demonstrate likely
         success on the merits of its Free Exercise and Free Speech claims. New
         York Progress & Prot. PAC v. Walsh, 733 F.3d at 488.

               Second, when the pleadings are viewed in the light most
         favorable to New Hope, serious concerns arise as to whether OCFS’s
         challenged actions violate the Free Exercise and Free Speech Clauses.
         See supra at 32–53 (discussing Free Exercise claim); id. at 65–70
         (discussing compelled speech claim). In considering a motion for an
         injunction, however, a court is not required to view the pleadings in
         the light most favorable to New Hope. See Pope v. Cty. of Albany, 687
         F.3d 565, 570 (2d Cir. 2012). Nevertheless, because New Hope’s
         complaint is verified, the district court can treat its detailed factual
         allegations as evidence. See Colon v. Coughlin, 58 F.3d 865, 872 (2d Cir.
         1995); 5A CHARLES A. WRIGHT & ARTHUR R. MILLER, FEDERAL
         PRACTICE AND PROCEDURE § 1339 (4th ed. 1990).

               In doing so here, the district court should consider that the facts
         alleged in the verified complaint, as well as those in sworn affidavits
         submitted by New Hope in support of a preliminary injunction, are
         largely unrefuted in OCFS’s filings in opposition to injunctive relief.
         The single opposing affidavit submitted by OCFS asserts that 18
         NYCRR § 421.3(d) applies uniformly and neutrally to all authorized
         adoption agencies in New York. J. App’x at 169. But the assertion is
         conclusory and, while true as applied to the statutory text, see supra at
         37, does not address pleaded circumstances raising neutrality




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         concerns, detailed supra at 43–53. The district court may properly
         consider the lack of evidence assuaging these concerns in determining
         the likelihood of New Hope succeeding on its Free Exercise claim.

               Similarly, in determining the likelihood of New Hope
         succeeding on its Free Speech claim, the district court can consider
         OCFS’s failure to provide factual support for its contention that a
         privately funded, faith-based adoption agency such as New Hope
         engages in “government speech” when it makes adoption
         recommendations based on its determination of the best interests of a
         child. Nothing in the existing record indicates that any listener has
         ever understood New Hope to be speaking or acting as an agent of
         the State in providing adoption services.         Indeed, an affidavit
         submitted by New Hope indicates the contrary. See generally J. App’x
         131–134 (Bleuer Aff.). Nor is there existing record evidence that state
         officials exercise the degree of control over New Hope’s expressive
         activities generally reflective of government speech. See supra at 63–
         64.

               As to the likelihood of New Hope showing that OCFS is
         compelling it to speak contrary to its beliefs, the district court should
         consider whether an agency’s adoption recommendation—expressly
         or implicitly—pronounces a particular placement to be in the “best
         interests” of the child. It should also consider the possibility of New
         Hope’s expressive activities in the provision of adoption services
         being restricted or penalized, particularly in light of OCFS’s inability
         to assure otherwise in this court. See supra at 66.




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               Third, in opposing a preliminary injunction, OCFS characterizes
         “adoptive services” as “government services.” J. App’x at 168–69. To
         the extent this characterization bears on the likelihood of New Hope
         succeeding on its claims, the district court can consider whether laws
         permitting only State “authorized” agencies to provide adoption
         services and establishing criteria for the provision of such services
         warrant recognizing the services themselves as governmental.
         Factors relevant to this determination can include that (a) authorized
         agencies, as in New Hope’s case, can be privately funded and faith
         based; (b) the State does not preclude faith-based organizations from
         referencing religious beliefs and using religious rituals in providing
         adoption services, something that the State itself could not do; (c) the
         State itself operates over 50 adoption agencies at the same time it
         authorizes some 70 private adoption agencies; (d) the State’s criteria
         for adoption services appear to afford authorized agencies
         considerable discretion in the final identification of the best interests
         of an adopted child; and (e) State regulations prohibit (or at least limit)
         consideration of certain facts, including a prospective parent’s sexual
         orientation and marital status, in identifying the best interests of an
         adopted child.

               Fourth, OCFS’s declaration stresses the State’s strong interest in
         preventing discrimination against prospective unmarried and same-
         sex couples. It maintains that preventing such discrimination serves
         the bests interests of children awaiting adoption by “provid[ing] a
         broad and diverse pool of adoptive parents” and, thereby,
         “maximiz[ing] the number of prospective adoptive parents.” Id. at




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         168. It also serves “to prevent the trauma and social harm caused by
         discrimination against lesbian, gay, bisexual, transgender, queer or
         questioning (LGBTQ) people.” Id.

               Should the district court determine that New Hope is likely to
         succeed in demonstrating that 18 NYCRR § 421.3(d) is not being
         applied neutrally but, rather, is being used to exclude its religious
         beliefs from the public arena or to compel (or preclude) its speech,
         OCFS must do more than identify a State interest.                It must
         demonstrate that its challenged actions are narrowly tailored to serve
         that interest without unnecessarily impairing New Hope’s Free
         Exercise of Religion or Free Speech. See, e.g., Lukumi v. Hialeah, 508
         U.S. at 546.   Should the district court consider tailoring, record
         evidence raises certain concerns.

               To state the obvious, it is no small matter for the State to order
         the closure of a privately funded, religious adoption ministry that has,
         over 50 years of authorized operation, successfully placed
         approximately 1,000 children in adoptive homes, particularly when
         there is no suggestion that any placement was not in the best interests
         of the adopted child.     While there is no question that OCFS is
         authorized to enforce 18 NYCRR § 421.3(d), the exact source of its
         authority to order closure for a violation of that regulation is not clear
         on the present record. See supra at 50–51. Thus, identifying that
         authority may be important to any tailoring determination.

                Even assuming such authority, however, other tailoring
         concerns warrant consideration. For example, New Hope asserts that




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         it does not provide adoption services to unmarried and same-sex
         couples because its religious beliefs do not permit it to state that it
         would be in the best interests of a child to be placed for adoption with
         such couples. To avoid its beliefs preventing such couples’ pursuit of
         adoption, New Hope is willing now, as it has in the past, to recuse
         itself from their cases, and to refer them to other adoption agencies,
         including those operated by the State. The question arises: Is this
         recusal-and-referral practice a narrowly tailored means for avoiding
         discrimination without impairing New Hope’s Free Exercise and Free
         Speech rights?

                To be sure, recusal and referral do not permit unmarried and
         same-sex couples to obtain adoption services from New Hope. But
         the existing record reveals no complaint from any referred couple.
         Nor does it indicate that any couple was unable to adopt as a result of
         referral. In the absence of any such evidence, it is not evident that,
         pending resolution of the merits of this case, recusal and referral
         poses such a risk of trauma and social harm to unmarried and same-
         sex adoption applicants that nothing less than the closure of New
         Hope’s adoption operation can adequately safeguard the State’s
         interests. 32   Should OCFS adduce such evidence on remand, the
         district court can properly consider it in light of the totality of the


         32Insofar as OCFS also asserts a State interest in avoiding trauma and social harm
         to LGBTQ children awaiting adoption, that appears not to be at issue in this case
         given that New Hope professes to focus its adoption efforts on infants under the
         age of two. But, of course, if OCFS thinks otherwise, it can clarify its position on
         remand.




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         circumstances, including how, if at all, New Hope’s recusal-and-
         referral practice limits the ability of unmarried and same-sex couples
         easily to obtain adoption services; 33 and how well the State’s interest
         in maximizing both the number and diversity of prospective adoptive
         parents is served by (a) allowing New Hope to continue providing
         adoption services subject to a recusal-and-referral practice, as
         compared to (b) requiring New Hope to close its adoption operation.
         These questions, like adoption itself, must also take into account the
         best interests of the many children awaiting adoption in a State where
         they number far more than the persons willing to adopt them.

                   In sum, because we reverse the dismissal of New Hope’s Free
         Exercise and Free Speech claims, we also vacate the denial of New
         Hope’s preliminary injunction motion as moot. This court does not
         order the district court on remand to grant such an injunction. Rather,
         we leave it to the district court, in the first instance, to weigh the
         merits of the motion consistent with this opinion.

                   Conclusion

                   To summarize,

                   (1) The pleadings, viewed in the light most favorable to plaintiff
                        New Hope, state plausible claims under the Free Exercise




         33   See supra at 47 n.20.




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                  and Free Speech Clauses of the Constitution. Among other
                  things, the pleadings,

                      (a) raise a plausible suspicion that OCFS acted with
                         hostility towards New Hope because of the latter’s
                         religious beliefs,
                      (b) plausibly allege that New Hope would be compelled
                         to speak or associate in violation of those beliefs if the
                         regulation in question were enforced, and
                      (c) do not permit a court to conclude as a matter of law
                         that New Hope’s speech equates to government
                         speech    merely because       New York        State   has
                         authorized New Hope to provide adoption services.

               (2) This case is not analogous to Fulton v. City of Philadelphia, 922
                  F.3d 140 (3d Cir. 2019), cert. granted, 140 S. Ct. 1104 (2020),
                  now pending before the Supreme Court, because,

                      (a) New Hope is not under contract with and receives no
                         funding from OCFS,
                      (b) OCFS has not identified New Hope as a public
                         accommodation, and
                      (c) the issue on this appeal is whether New Hope has
                         pleaded sufficiently plausible claims to defeat
                         dismissal, not whether it has demonstrated the




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                         likelihood of success on the merits required for the
                         injunctive relief denied in Fulton.

               (3) Because New Hope’s Free Exercise and Free Speech claims
                  should not have been dismissed, its motion for a
                  preliminary injunction was not moot and should not have
                  been denied on that ground.

               Accordingly, we REVERSE the district court’s judgment insofar
         as it dismissed New Hope’s Free Exercise and Free Speech claims, and
         we VACATE that judgment insofar as it denied New Hope’s motion
         for a preliminary injunction. We REMAND the case to the district court
         for further proceedings consistent with this opinion, including
         prompt consideration of the merits of the reinstated preliminary
         injunction motion. To facilitate prompt review, we ORDER any party
         wishing to supplement its initial preliminary injunction filings in the
         district court to do so within ten days of the issuance of this court’s
         mandate. Any appeal from a ruling by the district court on the
         preliminary injunction motion shall return to this panel. The limited
         injunction entered by this court pending appeal shall remain in effect
         unless and until vacated or modified by the district court. New
         Hope’s June 18, 2020 motion for this court to expand this injunction
         pending appeal is DENIED as moot.




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